          Case: 24-3259, 08/21/2024, DktEntry: 25.5, Page 1 of 260        (1 of 260)




                              No. 24-3259

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                         WORLD Vlslon, INC.,
                         Defendant-Appellant,
                                    v.
                           AUBRY MCMAHON,
                           Plaintiff-Appellee.



           Appeal from the United States District Court
             for the Western District of Washington
                   Honorable James L. Robart
                         (2:21-cv-00920-JLR)


                     EXCERPTS OF RECORD
                        VOLUME 4 OF 5

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                     Counsel for Defendant-Appellant
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  UPDATE: Hope Over Fear prayer chain
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                                                      H o p e l]'lll'EF Fear Prayer Requests




          UPDATE: January 22, 2021
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         Let's continue our commitment to praying for our donors at least 15 minutes a week.
         New sign-ups are always welcome, or you can simply click the Hope over Prayer
         Requests button above whenever the Spirit prompts you. Additional details below.



         PREVIOUSLY POSTED


         Join fellow World Vision employees across the US where we will entreat the Lord to
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         all that we are and all that we have.

         What is the "Hope Over Fear" Prayer Chain?
         A God-inspired prayer movement where you are invited to pray 15 minutes a week
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         What do you need to do to join the movement?
         Please follow this link to sign up for your 15-minute weekly Hope Over Fear prayer
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         In addition to the prayer requests from our donors, you can also pray for World
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         Reply               Mplyall          Forward




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8 keys to 3 mare powerful prayer life in 2022




          I My Luke 52145 because it shewsthatjust like 'm"lau and me, Jesus needed a break 'irbm the
          demo nds pf his boss' life to recharge his batteries and spend time with his Heavenly Father
          The life pfihrist is intended tp give us ea-:amples we can fclllaw and learn hum lkhristian-
          faith-news-stnriesl'matt.hew-25-prayer-refiectirsni. Ssteven though he was sum incarnate.
          .Jesus didrl't draw cur his superpowers as the Son of Gnd when II came to facing life's
          challenges. Instead. when he was exhausted or burdened or in need bf spiritual refreshment.
           hewuuld 'slip away' to pray - plugging into the power, pereeptipn, and purpose that can poly'
           being-und in God's presence.



          But Jesus Himself would often slip swsy to ths
          wildsrnsss snd prsy.
            -Luke 5216, AMF

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    believe it has never been more important for God's people to be on our knees. But knowing
    how to pray is not always easy. Jesus' disciples felt the same confusion. They were familiar
    with the oft-repeated prayers of the Torah. But Jesus prayed with a kind of authority and
    power they had never seen before - as though God was listening' So when they came to
    Jesus, as told in Matthew 6, they didn't say, "Teach us another prayer." They said, "Lord, teach
    us to pray."

    The Lord's Prayer (Matthew 6:9-13) is Christ's response. It is a beautiful prayer and one that
    every Christian should hide in their heart - I challenged my granddaughter to memorize it.
    But elegant as the words are, I do not believe Jesus intended it to become another ritualistic
    prayer. Rather, it was to be an example of how to pray,




    This, then, is how you should pray:
    'Our Father in heaven,
    hallowed be your name,
    your kingdom come,
    your will be done,
    on earth as it is in heaven.
    Give us today our daily bread.
    And forgive us our debts,
    as we also have forgiven our debtors.
    And lead us not into temptation,
    but deliver us from the evil one.'
    -Matthew 6:9-13, NIV


    Here are eight keys that have helped me develop a more powerful and effective prayer life. I
    hope they will encourage you to make 2022 a year of prayer.



    1. Know to whom you are speaking.


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      whom you are speaking by name. Jesus begins with "Our Father in heaven." He focuses on a
      distinct person - the Heavenly Father with whom he has a personal relationship. We share
      the same right to call God "Father," and there are times when we need to talk with our Abba
      Father, Daddy God. But God is three distinct persons in One: the Father, the Son, and the Holy
      Spirit.


      I find it helpful in my prayer times to focus on which of the Holy Trinity I need to talk to. Often I
      talk to Jesus, the friend who is closer than a brother and the Savior of my soul. Other times I
      cry out to the Holy Spirit, who fills and empowers me to do the tasks Father God has called me
      to do. Having a distinct sense of who I am speaking to helps me formulate what I want to say
      and how I want to say it.



      2.Thank him.
      A heartfelt thank you is always a great conversation starter. Like any parent, God loves to see
      that we have grateful hearts. But more importantly, as we take the time to praise God for all
      He has done in the past - the answered prayers, the impossible situations overcome, the
      heatings and grace - our faith to believe for even greater answers to prayer grows stronger
      and more confident. Praise opens the gates of heaven and should always be part of our alone
      time with God.



      3. Ask for God's will.
      The Lord's Prayer is not the only place where Jesus role-modeled a heart of obedience and
      submission to the will of God over his own desires and needs. In the Garden of Gethsemane,
      only hours before Jesus' crucifixion, he would once again pray, "not my will, but yours be done."
      In a world where right and wrong are frequently confused and the future is so uncertain, it can
      be hard to know how to pray or what to ask for when difficult circumstances arise. But the one
      thing we can know with absolute certainty is that God's plan for those who love him is good,
      and the safest place we can be is in the center of his divine will.



      4. Say what you need.
      In Jesus' time, bread was a staple - one of the most basic needs of life - and he did not
      hesitate to ask God to provide it. But we often hesitate to bother God with the little things we
      need, thinking he shouldn't be bothered. And when the big problems come, we try everything
      we can to solve the problem before we think to pray. The Bible says, "You do not have because
      you do not ask God." So never hesitate to ask God for what you need in 2022. Your Father in
     heaven delights to give you good gifts.
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    5. Ask al§:8| af
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    James 5:15 reminds us that if we want our prayers to be hea rd.+:l=IJr hearts need try be right
    with Gnd and with CINE another. If you feel your prayers are b-cnuncing off the ceiling. take same
    time to check 'lruur hesrt.



    6. Pray with 3 friend.
    There is power fn agreement when we urea-' in JesusJ name- When I have an urgent need to
    take he!-'ere the thrlealeefGed. Iwill eFLen call a friend to pray with me. If am dent already
    have one. make Ending a trusted prayer partner one of yeurgeals in 2022.



     T-L Pray the Word.

    My mother was a spiritual prayer warrior, and much that I know about praverl learned from
    hen llwed to listen to her pray because fer were need or situatien,sF'le would claim a
    scripture of premise- 'TheWn-rd r::lfGnd has power and in our great spiritual wea pen," Mama
    would say. 'Prof the Ward. Marilee. Pray the Ward "


    Jesus did the same when he was tempted is Satan To the wilderness [see Luke 4:1-1 el. He was
    the sen of GM. but he did net use his divine eutherihs Instead, he used the eutheriw of the
    Scriptures



    8. Mem~t;~ri2E Scripture.
    The mer.-Il important Ker to a vibrant pra1J.ter life is to understand our spiritual authority in
    Christ as explained in the Scriptures. The pol',' war tp duthat is to becpme intimater familiar
    with the Bible. Even a few minutes a day in to Ward of Gnd will add strength and authprihr to
    your prayers in 2022.




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                                             WVUS DEVOTION GUIDELINES

 STATEMENT ON THE PURPOSE OF CORPORATE WORSHIP, DEVOTIONS AND PRAYER
      World Vision is a diverse partnership of followers ofjesus Christ committed to serving God through the ministry of
 World Vision (WV). The main purpose of our corporate worship, devotions and prayer is to draw us closer to God and
 to be encouraged to serve God in the fulfillment of our unique organizational calling.
      Through our corporate worship, Bible study and prayer, we pray that God humbles, encourages, refreshes, unites
 and empowers us to be faithful in the mission to which we are called. We pray that God will be glorified, that those in
 poverty and oppression will experience justice and release, and that God's kingdom will indeed come on earth as it is in
 heaven. (Common Mission, Common Lord, Tim Dearborn)

 DEVOTIONS
 We draw closer to God and are encouraged as we serve God through regular department/divisional devotions.
 Devotions are a time for staff to gather to:
    'I' Entrust our work and ourselves to God.
    *Z* Pray for the work of World Vision: to prepare our hearts and our team for the work of the day, to remember
         those we serve - the children, the vulnerable, the suffering, and to remember our donors and ministry partners.
    *I* Pray for our staff: our co-workers working alongside of us, our staff throughout the world - especially those
         working in difficult places, and personal concerns/work challenges of staff.
    'I' Build closer relationships with one another.

 LENGTH OF DEVOTIONS
 The intent of devotion is for departments to meet fours times a week (excluding the day of Chapel) for 10 minutes. This
 provides time for reading of Scripture and prayer for the daily work. However, leadership is allowing each department to
 determine the day(s) and time for devotions that is best for their departments, with a maximum time of 45 minutes per
 week.

 LEADERSHIP OF DEVOTIONS
 In addition to being a part of every WVUS job description, rotating leadership among staff provides an excellent
 opportunity to experience the many and diverse spiritual expressions and faith traditions represented at World Vision.
     *I* We encourage leaders to present devotions in the spirit of Paul's exhortation to "be completely humble and gentle,
          be patient, bearing with one another in love. Make every effort to keep the unity of the Spirit through the bond of peace."
          (Ephesians 4:2-3, NIV)
              o We especially encourage restraint from any comments that may be perceived as judgmental, divisive or
                   alienating towards any specific faith tradition(s). For additional information see Kingdom
                   ConnectorslKingdom Dividers in Appendix A.
     *I* For staff members who are not comfortable leading devotions, we suggest asking another staff member to co-lead
          with them.
              o In addition, training is available titled "How to Lead Devotions" which may be offered to teams, or
                   individuals may view a webinar version of the training. For information on this training, contact the
                   Spiritual Formation Coordinator.

 DEVOTION CONTENT
 Appropriate devotional materials will:
     *I* Be Christ-centered.
     'I' Be consistent with the teaching of Scripture.
     'I' Be based on biblical principles.
     'I' Address issues faced in the context of our work.
     *I* Apply to the spiritual nurture of our staff
 For a list of suggested materials, please see Appendix B.




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                                                              APPENDIX A

                                       KINGDOM CONNECTORS AND KINGDOM DIVIDERS

                 wAs a prisoner for the Lord, then, I urge you to live a life worthy of the calling you have received.
                          Be completely humble and gentle; be patient, bearing with one another in love.
                           Make every effort to keep the unity of the Spirit through the bond of peace.
                                                        Ephesians 4:1-3, NIV

   As we seek to obey the biblical mandate to serve the poor in the name of Christ and to bear witness to God's love for
 all people, our effectiveness is enhanced when we model Christ-like characteristics towards one another within the
 workplace. Focusing on Christ's character and love enables us to emphasize what unites us, rather than what divides us.
   Devotions are an opportunity to unite us in the midst of our cultural and spiritual diversity as we focus on our One
 Lord and Savior, Jesus Christ.

  World Vision recognizes that there are shared beliefs within the community of Christian faith. KINGDOM
 CONNECTORS represent these uniting beliefs.
                                                   Authority of Scripture
                                                    Christ's uniqueness
                                                 Jesus as Savior and Lord
                                          Life "in Christ" through personal faith
                                         Love for neighbors through social action
                                             Worship, Prayer and Sacraments
                                                 Presence of God's Spirit
                                                  Power of good and evil
                                                Community and Belonging
                                                   Witness and Mission


    KINGDOM DIVIDERS represent beliefs where differing views exist.
                                              Views of Scripture*
                                               Modes of Baptism
                                                 Worship Styles
                                             Women in Leadership
                                         Personal Faith or Social Action
                                    Charismatic or Non Speaking in Tongues
                                 Born Again Salvation or Sacramental Salvation
                                        Decision or Process Evangelism
                                              Eucharistic Diversity
                                               Lifestyle Standards
                                                  Social Ethics



                             "in the essentials unity, in the nonessentials liberty, and in all things charity."
                                                            Rupertus Meldenius




 * Christians are in agreement that the Bible (including both testaments) is the highest authority for our beliefs and practices.
 However, differing views exist with regards to the extent of its inspiration and inerrancy.

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                                                        APPENDIX B

                                                     Devotional Resources

    I. Resources that focus on the mission of World Vision.
    •   Current WVI Bible Study: Available on Intranet/Faith at Work/Devotions
    .   Previous studies may be found on the Christian Commitments section of the WVI Global Centre website. You
        may access the WVI Global Centre website from the home page of the WVUS intranet.
           o Available studies include: 2001 Discipleship Bible Study; 2002 Peace building Bible Study: 2003 Vision
               Statement Bible Study; 2005 Women in Leadership Bible Study; 2006 Micro-enterprise Development Bible
               Study Workbook, 2006 Transformational Development Bible Study, 2007 God's Purpose for our lives,
               2008 Doing justice and Advocacy Bible Study; 2009 Discernment Bible Study.

   2. Fiscal Year Scripture verse - quarterly and monthly themes: A devotional on the current fiscal year
        scripture verse is available on the Intranet/Faith at Work/Devotions.

   3. A testimony of faith

   4. A passage from a devotional -
      Resources for on-line devotionals
    .  www.crosswalk.com/faith/devotionals,
    .  www.catholic.org/bible,
    .  www.thehighcalling.org

   5. A passage from a book that has impacted your life
    .    Share why/how the book impacted you.
    .    Read only small portions, key passages.

   6. Prayer led devotions
         Use regularly the WVI monthly prayer guide - available on the Prayer Connection (Intranet/Prayer Connection)
         Pray for current projects and work your team is engaged in.
         Pray for the children we work with and our donors

   7. A passage of Scripture
    .    When using a passage of Scripture, it is helpful to begin your time with prayer, asking the Holy Spirit to teach and
         provide wisdom and understanding.
         Read through the passage several times slowly, pay attention to words, phrases that speak to you. If possible,
         read in several translations. What does God seem to be saying in this passage?
         Look for:
         O Different names, titles, pronouns used for God (or Christ, or Holy Spirit). Make a list of everything you learn
             about God (or Christ, or Holy Spirit).
         O Repeated words or phrases? What do you learn about these words/phrases?
         O Promises from God
         o   Instructions for us to follow
         Prayerfully, reflect on the passage considering the items above - or others that come to your mind.
         Consider a couple of key findings that are important for our work and ministry and/or for our spiritual nurture.

  8. Music
    .    Play an inspiring song on a CD - have copies of the words available.
    .    Lead worship by playing an instrument


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   Christ-Centered Life and Work
   The norm within WorldVision is that all staff are committed followers ofjesus Christ. This includes living
   out a compassionate approach to witness and service, as well as seeking to develop spiritual maturity and
   supporting corporate spirituality. We do this by:

           Linking personal mission and work to spirituality
           Affirming and explaining the basic beliefs of the Christian faith
           Reflecting Christ-like values in work and life
           Seeking spiritual growth for self and others
           Demonstrating a growing understanding of and respect for Christian diversity
           Respecting and relating appropriately to people of other faiths
           Contributing to corporate spirituality


   Corporate Spirituality
   While our staff reflect a wide variety of faith traditions and backgrounds, we are unified in our Christian
   identity as followers ofjesus Christ. We celebrate and express that identity corporately in three significant
   ways:

   Corporate Worship: Attendance at weekly Chapel services every Wednesday at I l:00am PST. Staff located in
   the Federal Way, WA and Washington, DC offices should attend in person, and other offices may connect by VTC or
   video stream. We worship through music, reading of the Word, and rejoicing in what God is doing through our work,
   and messages of encouragement and reflection. What a privilege we have to worship together!

   Corporate Devotions: Attending and leading regular team devotions. Teams are expected to meet together for
   45 minutes each week for team devotions, and all staff are expected to participate by attending and taking turns
   leading the devotional time. This is an important aspect of worshiping in God's word and praying for our work.
   Devotional guidelines and resources are available on the intranet.

   Corporate Prayer: Praying regularly for our colleagues and our work. Prayer should infuse every aspect of our
   work as an acknowledgement of our dependence upon the Lord for wisdom, guidance, effectiveness and outcomes.
   Our colleagues working in difficult places are counting on us to pray for them as well. Prayer is an integral part of
   our regular Chapel serves and devotion times.




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   Effective Christian witness is first expressed in the conduct of our staff and unity around our
   Statement of Faith. Behavior consistent with our profession of Christian commitment is
   expected in our both work and personal lives. We are not looking for perfect human beings,
   but repentant followers of Christ.



   Singling out certain behaviors as unacceptable requires drawing a line based on
   determination of whether or not the particular behavior is:
        Disruptive in the workplace
        Reflects poorly on the name of Christ or World VisionS reputation
        Distracts us from our core mission
        Compromises the safety of oneself or others
        is likely to be offensive or off putting to our donors andlor church partners




   Rather than itemizing a list of do's and don'ts,we are committed to using the
   following guidelines:
        Does the behavior glorify God? Cause others to praise our Heavenly Father? is it worthy of
        Jesus Christ?
        Does it build up other Christians and encourage love and good deeds?
        is it loving?
        Does it advance truth and truthfulness?
         is it good stewardship a responsible way to use God-given time, talent and resources?
         is the behavior consistent with the teachings of scripture?




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       Making a difference - We are World Vision

                    Devotion for individual reflection




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       Making a Difference - We are World Vision
                                                     Devotion
       INTRODUCTION
       We are World Vision, a global community of people committed to improving the lives and futures of
       children everywhere by empowering them, their families, communities and supporters to overcome the
       challenges of poverty and injustice.

       Our Christian faith teaches US that all children, regardless of gender, faith or race, are a precious gift to
       the entire world - and that their well-being concerns us all. We serve others because of their unique
       worth as human beings created by God. We are inspired by the example of our Lord Jesus Christ who
       commands us to love our neighbours and to honour all people.

       This devotion, which can be used for personal or group reflection, helps us to recognise who we are in
       God's eyes, what He has called us to do and ultimately, what God is expecting of us. Through prayer
       and reflection, we can come to a shared understanding of how our individual and collective
       actions help to make a difference in the world for all God's children.


       WHO WE ARE
       Our vision and mission

       We are a Partnership of Christians with a vision of a different world -- a world free of poverty, full of
       justice and one in which every child thrives. That vision also compels us to engage with donors and
       supporters in a way that contributes to transformation of their values, beliefs, and behaviours so that
       they give, act and pray for the well-being of vulnerable children and help us overcome causes of poverty
       and injustice.

       Prayer
       We come to you for help, our God, to ask that your light might shine on our eyes and that the darkness
       of our hearts will not hinder us from seeing you at each step.
       We want to discern your face in the faces of those who suffer, recognise your voice in the voices of
       those who have been silenced, perceive your hand in the outstretched hand
       of the hungry. Holy Spirit, give us your light, that we might see the Son and fulfill the Father's will. Amen.


       James l:27 NRSV
       Religion that is pure and undefiled before God, the Father, is this: to care for orphans and widows in
       their distress, and to keep oneself unstained by the world.




       2



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       I Samuel 2:8 NRSV
       He raises up the poor from the dust,
       he lifts the needy from the ash heap,
       to make them sit with princes
       and inherit a seat of honour.
       For the pillars of the earth are the Lord's,
       and on them he has set the world.

       Reflection:
       How am I/are we seeing God's face in those whom we serve?

       In what ways am I/are we struggling to carry out this vision and mission from God?

       In what ways can I/we express my reliance on God to bring life in all its fullness to those we serve?




       WHERE WE ARE GOING
       Doing our part to bring about God's kingdom
       Our path has been defined: we are united in the quest to improve the well-being of children. To help
       live out our vision, we have set for ourselves a challenging goal: to strive to achieve the well-being of
        150 million of the world's most vulnerable children by 2016. This goal inspires and motivates us, guiding
       our leaders to invest time and resources in areas that make the greatest contribution to the well-being
       of children and communities, and helping staff members know that no matter their role or area of work,
       their efforts are making a difference.


       Prayer
       God, we ask you today to fill us with courage to announce your kingdom, which is a kingdom of justice,
       love, and faith. We want to discern and obey your voice-we want to obey it even if trials and
       difficulties come. Don't leave us alone. Don't let us be dismayed. May your Spirit strengthen us and may
       your friendly hand lead us always. May the example ofjesus inspire us, so that, in the end, we may be
       useful servants. Amen.
       O Lord, father of all children,
       Watch over your little ones
       Who are poor and abandoned
       They cry, for they hunger for food,
       For the cold chills their bones,
       For their bodies suffer with disease,
       For they never know the tenderness of love
       Lord, grant that these little ones come to you!
       Warm their tender hearts,
       Gather them under your wings,
       That they may feel the care of your heart

       3


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       And ever enjoy your kindness as their Father.
       A prayer for orphans, Xaverian Missionary Society, Burundi

       Matthew l9:l4 NRSV
       but Jesus said, 'Let the little children come to me, and do not stop them, for it is to such as these that
       the kingdom of heaven belongs.'

       Matthew l8:l0 NRSV
       Take care that you do not despise one of these little ones, for, I tell you, in heaven their angels
       continually see the face of my Father in heaven.

       Reflection:
       What type of organisation do I/we think God wants World Vision to be as we focus our collective
       efforts on child well-being?

       What is God's dream for the impoverished and oppressed and in particular for the children of our
       country /region?

       What new things does God hope we will do?

       What things does God want us to stop doing?




       HOW WE WILL GET THERE
       Using the gifts and resources God has provided

       Working together day-by-day, our combined efforts achieve what none of us could do alone -- a
       substantial and sustained difference in the lives of the world's most vulnerable children. Our strategies
       put children first and we are working to ensure they are aligned.
       Each part of our Partnership - ADPs, national offices and regions, ministries, as well as support offices
       and departments in the Global Centre - makes choices on how to use time and resources to contribute
       to the well-being of children.

       Every national office has developed a strategy, every region has identified its master goal or regional
       strategy. These national and regional strategies combine to create the overall strategy for our
       Partnership.

       By passionately focusing on child well-being, and cutting out activities and inefficiencies that do not
       contribute, every day we can get a little closer to our vision. Our challenge is to work as though every
       task we carry out makes a significant difference in children's well-being. Because when you add up all
       that we do -- all our rewarding, life-changing contributions and even our routine activities -- we are
       making a difference...every day...in the lives of millions of children and their communities.




       4


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       Prayer
       In the midst of physical pain, in the midst of the soul's
       tears, in the midst of dreadful darkness,
       in the midst of the violent
       whirlwind of conflicting passions,
       in the midst of the cries for
       help from abandoned children,
       in the midst of the hut made
       of tin and cardboard, in the
       midst of the homeless,
       in the midst of dehumanised
       metropolis, ...in the midst of
       everything!
       I know for sure that you are there, O God!
       Yes! Bringing comfort, wiping away the tears, bringing forth light
       in the darkness, refreshing as the soft breeze refreshes,
       extending a strong and sweet hand as necessary,
       offering hope, peace, life, dreams and laughter, guiding, advising
       and admonishing...
       Thanks, O Lord, for this all!
       I realise that, in order to carry out your work, you need each one
       of us
       Thanks because we are your instruments, your tools,
       to serve and to shed love and peace!
       That's beautiful, isn't it? Come on! Let's not waste our time. Elisa de Bulmes

       Psalm 40:5 NRSV
       You have multiplied, O Lord my God,
       your wondrous deeds and your thoughts towards us,
       none can compare with you.
       Were I to proclaim and tell of them,
       they would be more than can be counted.

       Isaiah 58:6-I0 NRSV
       Is not this the fast that I choose:
       to loose the bonds of injustice,
       to undo the thongs of the yoke,
       to let the oppressed go free,
       and to break every yoke?
       Is it not to share your bread with the hungry,
       and bring the homeless poor into your house,
       when you see the naked, to cover them,
       and not to hide yourself from your own kin?
       Then your light shall break forth like the dawn,
       and your healing shall spring up quickly;
       your vindicator shall go before you,
       the glory of the Lord shall be your rearguard.
       Then you shall call, and the Lord will answer,
       you shall cry for help, and he will say, Here I am.



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       If you remove the yoke from among you,
       the pointing of the finger, the speaking of evil,
       if you offer your food to the hungry
       and satisfy the needs of the afflicted,
       then your light shall rise in the darkness
       and your gloom be like the noonday.


       Reflection
       How is God working through my/our office's initiatives and strategy to bring forth light in the darkness?

       What resources is he providing? What choices can we make to use them wisely?

       What is God saying to me/us about being His instrument for change?

       What is one thing that God could do through me/us or through World Vision in this coming year to
       make a difference in multiplying His Kingdom and contributing to child well-being?


       Resources
       For more information, visit Making a Difference - We Are World Vision on wvcentral

       https://www.wvcentraI.orglweareworldvisionl

       For additional prayer resources, visit Christian Commitments on wvcentral at

       https:llwww.wvcentraI.orglcd


       2014 - Making a Difference Deovtional




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                 Biblical th OID of work: [In fulfilling our mission, w understand that our dependenters
                 primarily on God - nu on ourselves or our own abilities, There is no sacred secular split inlife. For Christians
                 oh' work is done as unto the Lord.)


            l    world vision's Unique CEllI - witness 110 Chris : {Mclt i».rated Marr faith in Jesus, we
                 serve th war as a demonstration nfGnd's uncunditicunal love fur ail peap'Ie.)

            11
                 Staff Spiritual Formation: i',We are not the church. we are on mission with the church, We seek
                 to address particular spiritual challenges we face in our work with the poor, for example: developing a biblical
                 perspec Ive on suffering, biblical olism and serving in pluralistic coritexts.l


            I    Christian work ethic in our life tog t or/spiri ual Unity & Diversi y:
                 [...with 3 mix of different church raditions, jot: responsibilities, and levels of authority and power - we want
                 to be people in whom Christ-like behaviors and Christ-honoring actions are evident]




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            . Speakers Scheduling &                                    Moderator notes
              Consulting                                               Render & post Chapels on
            I* Weekly Content Design                                   Vine
            J- Special Chapels design and                            Additionally when live:
               delivery (Advent, Easter)                            51. Ushers
            -8* Virtual Tech Arrangements                           I- Overhead
               81 Rehearsals                                           Announcements
             I Musicians/Music                                         Run-thru's w/SR.Team
             | Power Points & video
                                                                       Set up w/Facilities




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                             MET1: Becoming a Spiritual Leadership

                                   .                  .Spiritually Leading your teams
                                                     v'




                             Mission Immersion Program
                             NEO: Living Out Our Faith@work
                             prayer Masters: (learning to pray)
                             How to Lead a Devotion
                             Other trainings as assigned by WZJCC (CW101)




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                   Day of Prayer (2 months F/T) 8: Corly Activities (Love Ball
                   Cha Henge)
                 . Assignments from vv2Jcc

                 . Faith@work 'Vine Resources

                 . Prayer Rooms & Prayer Vigils

                 . Devotional writings (e.g.., 5LT Strategies)

                 . F@w Letter for New Employees

                 . Market Monthly wall resources
                 . Market wvi Annual Bible Studies (2x p/w)

                 . Liaison w/wvi F&D

                 .            Memorial Services




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            Current FOCUS:                                                                                                 Possible Future Focus:

            | Biblical Theology of Work
                                                                                                                           |- Building Spiritual Community
              World '~J'isinn's Unique Call -
              Witness to Christ
                                                                                                                           . Building Biblical knowledge
            . Staff Spiritual Formation
              Christian Work ethic in uurlife                                                                                   Building a stronger Biblical World
              together: Spiritual unity 81 Diversity                                                                            View
                                                                                                                           . Other




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   EXHIBIT MF-33




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                            EMPLOYEE
                             OPINION




     INCLUSION
       INDEX

                                                          TEAM
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                             CHECKS




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      Believe Belong Become* Strategy

          The Believe Eeleng Eeccume Strategy is the W"'~I"U5 Elrganizatienal Health Plan fur F"|"1'2-
          FT24-




                                                  Objective
            Create a thriving, Christ Centered employee experience that re-invigprates.
           festers :ennectiens virtually and in-persen, and inspires employees to fulfill
                                              the ln'v'U 5 Strategy.




                                                      Goals
                                                      Believe
             We are committed to Eur Christ-centered mission and united to fulfilling itwith the
                          dunnrs and children we serve, witnessing to ChrE51I.


                                                      Belong
            We are festering unity within a Idhrerse cemmuniijr of believers, where everyone feels
                         valued, respected and currtrfbuting to: their fullest l:H:=-tential.


                                                     Become
                  We are fulfilling our mission as we pursue individual and curperate growth,
              r:."-'ercuming the- challenges of our time, and bringing excellence to Eur work f»:;l-r
                                                  optimal impart.



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          Where to Focus
               1. Teams
               2. Making erg. health a key theme in Eur transition to our new. wurkferre culture
                  of hybrid and= flexible working.
               3, Equipping managers and leaders to rnedal the way.



          HDW oil Succeed
              1- Remain united in Christ
              2- Create cammuniry in the new nnnnal
               3- Fester CDII'iflEC[iDI'1 'ID 'DUI' missinri.
              4. Living our values sn th=at staff feel eennected, trusted, and heard.
              5. Festering learning and development that inspires growth.
              E. Keep chipping away at simplifying work and tiecuming rnrare agile.
              1 Managers and emplpvees value personal wellness and safety as the new normal.




          Key' Capabilities
              1. Christ Centered leadership drawn through manager level readership.
               2- Manager coaching for deirelppment-
               3- Eentinupus precess improvement at the team level-
               4- Buiilding cpmmurarity at the team level-
               5- Creating psyrc hulpgical 5afetg,r ED everyone cuntributee perspectives and
                 knowledge-



           Measures
               1. D"u!5 eight cetegeries and Glur Premise (increase F'l"'2.I scares 5095 DJ' lower to
                  ebcnre ?896; end' increase sccwres between .T-"1'.T!J3'ElE to above 51395)
               ll- Manager E'Hecti1rErle$5 Index within GAS Repcurts Ilnew in 2033}
               3. Inclusion Index as subset of DAS statements at -ergs niretien level - help focus
                  belonging e:Ffer13
               4- Pulse Checks {l:r»:llling} around elements of Believe, Belong, Eeceme




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              Additional Resources


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              sources for "BELIEVE" of Believe Belong Become


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              We are committed to our Christ-centered mission and united to: fulfilling it with the donors and children we serve, witnessing
              to Christ. Below are resources related to "E~elie~re."



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                        Fe:-u belong here to share your unique talents, experiences, and spirituui                   girls with your colleagues and the wnrid.




             W'e are fulfilling our mission as we pursue individual and cerpurate grwrth. ewers:-ming the challenges of our time. and bringing excellence in
             our work fer optimal impact. Eeinw are resources related to "BeJcmg.'



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                . spiritual Leadership for Manag
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                . Faith at Work


            Click here for more resources on Believe.




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                . Diversity and Inclusion Site
                . Staff Engagement 84 Recognition
                . Recognizing Staff for Manag
                . Recognizing Great Work Virtually
                . Best Practices for Virtual Teams
                • Building Your Virtual Work Community

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 Early W2JCC: Objectives for Spiritual Nurture of staff

   'Enable and nurture spiritual growth...for oneself and every employee

         .   Staff communicate a growing relationship in knowing and experiencing Christ in
             their life as they work at World Vision.
         .   Staff recognize and are able to share how God called them to World Vision and
             how God continues to transform through them in their work and life.
         .   Staff celebrate all expressions of Christian faith - adopting an inclusive and
             respectful approach to different church traditions.
         .   Leaders understand their responsibility to model spiritual growth and prioritize
             the spiritual care and nurture of their staff

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On 019 Journeyj'_Electives

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  highlight our falilh                                                                                                                 Newsletter
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                                                                        Our Faith Reauurnze?                                           Greater Sharing n-1' Gifts
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           Assignment: if we were to offer                              Crucial Conversations        Hitireal
          M11'lr 3 impeach n:~::lun°n, electives fer
             staff - what should they be?                                                            Ancaurrtabliitg Groups
                                                                                                     [J8y8's suggestions]
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                     Appendix Documents




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                      Terms
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                                                                                                        331; Critical Journey: Stages in the Life of Faith
                                                                                                         3* Anet O. Hagberg and Robert A. Gueiich (up r F                  )
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                                                                                                                                                                                          of Faith /

                                                                                                        stage 1: The RccQ9iT£ion Q1;God

                                                                                                        Thesis- Faith is the d.iscovr.~ry or recognition of God.
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                                                                                                        . A sense of Awe
                                                                                                        • A sense o 1 I N e e d
  3 I)MFr>W3;Cl
                  /                                                                                     *   A Natural Awareness
                                                                Stages                      f'?0?'C*~   " Greater Meaning in Life
 11¥anm+Z                         | mVSQQ                                                               | A Sense of In nocence

                                                                                                         Caged at Stage 1:
                                                                                                            Wmthlessnuss,Spiritual Bank1'up1:cy, Martyrdom, Ignorance
                                                        llllllllll
                                                +          I                                            Moving from Stage I to Stage 2:
                                                                                                            Become Part of a Strong Group
                                                                                                            Let Vour Life Take on More Signiiuanrer=
                                             . 0U's¢l&.0 T*                                             . Find a Chalrisnlaric Leader to Follow
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                                             $1208 Concepts
                                             'Fluid and Cumularlu c Scscrn-r=                            Catalyst for Movement:

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                                             .lJu1£1r '1ml lnmcr 3t:18L's- I                            • Reduce Isolation
                                            *l ':18:~r5t:1n:lir11;. 'Ill3vd\»:r Stages
                                                         A TII11¢ fur I'h'HJ\il1g
                                            '3irr1iI:lrJLi1;1»: :had l'»I¢r».l2t'1't¢r1ta
                                                                                                                                                                                     Ref l ect i on :
                                                                                                                          l when and where did gnu first recognize God in vote:life? (Awe or Need")

                      "The beauty is in the walking; We are betrayed by destinations"
                                                       -Gwyn Thomas


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   Stage 2: The Life of Discipleship                                                                                       6
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   Thesis' Faith is learning about God.                                                                                         Stngu
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                                                                                                                                                       Thesis: Faith is working for God.                                                                                   Siagti

   Charactelfisties of Stage 2°                                                                                            5
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                                                                                                                                                       Characteristics of Stage 3:                                                                              5
   • Meaning from Belonging                                                                                                      4                                                                                                                                                         `3..
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     Answers found in a Leader, Cause or Belief System                                                                                                                                                                                     JO/
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     Sense of Rightness
                                                                                                                                                            Values Placed on Symbols
     Security in Our Faith                                                                                                                             . A Spiritual Goal Reached
   Caged at Stage 2:                                                                                                                                       Caged at Stage 3                                                                                               I   .;.g_       **
   • Rigid in Righteousness                                                                                                                                                                                                                                                   I1
                                                                                                                                                           • Uverly Zealous
    ' We against Them                                                                                                                                      •' Weary in Well Doing
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   Moving from Stage 2 to Stage 3:                               '.I.»I*il:r1
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      Seek Responsibility                                               Ll:ai'-§I'H,'il5"'1l"t:l                                                             Look for Direction                                                        r


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   Catalyst for Movement:                            |                                                                                                     Catalyst for Movement*
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   . Risk Taking                                                                                                                                           ' Letting go of Success                                                                      I
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   • Acceptance of Gifts                                                                             ditfu   I*
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                                What was WMWMMQ of discipleship. god of 8159gp life?                                                                                                                    What do youfeel good about in that regard?




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   Stage 4:_The..I0urney.It1wa;'d
                                                                                      M\                        The Wall
                                                                                                 Stages
                                                (89 :T ¢»Jof"tf'*)                               of Faith
   Thesis: Faith is Rediscoverinlé, God
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                                                                                                                    ° : The Mystery of Our Will Meeting God's wm Face to Face.
   Churacterisdcs of Stage 4:                       LQ     390 .QF 1414
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                                                                                                                Types of Resistance at the Wall:
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   . Life or Faith Crisis
   I Loss of Certainties in Life and Faith                   C9dLuh0 LC-                                          Strong Egos                                 M01C() b/5C/c-by-/wick .
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    Caged at Stage 4:                                                                                             Doctrinaire
    i Always Questioning
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    l Cnns1.11t1ccl by SclfAssessment
    . immobilized                                                                                               Going Through the Wall:
   Moving from Stage 4 lu Slags 5i                                                                                Discomfort
   l let go: of Spiritual Ego (Self-Cenwredness)                                                                  Su rren d er
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           L God's Pm-pose. fUr Our ]..Wes
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   . Seek Wholeness Through Personal Healing and Pilgrimage Lompanionecl                  s W u(»ww=M2@
                                                                                                                  Awareness, Forgiveness, Acceptance, Love             60/2 77?/<8 vow I
   * Be: Willing to Commit to Whatever i1"":llrLe.\:                                                                                                                                        1M WM, .
                                                                                                                  Closeness to God
   Catalyst for Movement:
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      Finding Peace Through Giving Up Search [or Self
                                                                                                                  Melting, Molding
      Allowing a New Kllsriainly in God
                                                                                                                  Solitude and Reflection
      Open to the Crust of Dberllsuci-

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                                                                                                       stage 6: The Life of Love
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    Stage 5: The Journey Outward                                                   \/                  Thesis: Faith is Reflecting God    7                   K,/]0/V ye
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                                                                                                       Characteristics of Stage 6:
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    Thesis: Faith is Surrendering to God.
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                                                                                                  I    • Christ-like Living in Total Obedience to God
    Characteristics of Stage 5:
                                                                                                       • Wisdom Gained from Life'sStruggles
      A Renewed Sense of God's Acceptance
      A New Sense of the Horizontal Life                                                               . Compassionate Living for Others
      Sense of Calling, Vocation, or Ministry
                                                                                                       • Detachment from Things and Stress
      Concern and Focus on Othcr's Best Interests                                                       ' Life Underneath or on Top

      A deep Calm or Stillness                                                                          ' Life Abandoned

    Caged at Stage 5:                                                                                   Caged at Stage 6:
       Seemingly Out of Touch with Practical Concerns                                             I     • Separation from the W orld
       Apparently Careless about Important Things                                                        ' Neglect of Self
                                                                                                         • Apparent Waste of Life
    Moving from Stage 5 to Stage 6:
       No Striving, Just Evolving-Gvowing Deeper
                                                                                                                                                                                   Reflection:
       Seeing God in All of Life                                                                                             If God were everything to you what would need to he left behind and |
                                                                                                   a
       Being God's Person                                                                                                                                     what might be gainedfor' others 9
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     Catalyst for Movement:
       Vocation is Satisfying




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       Being Whole Seems Enough

                                                                                 Reffecbfon.
                                        Do you have al Glimpse qt God's Calling in your f.gf@='
                                         r know someone who you sense might be in Stage5
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Child Spensurship
empowers and ampliflie
the voices of children as
agents of change within
their eemmurlitlee.                        -i i714 5




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 1                                             THE HONORABLE JAMES L. ROBART
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 6
                             UNITED STATES DISTRICT COURT
 7                        WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9
10 AUBRY MCMAHON,
                                                 CASE no. 2:21-CV-00920-JLR
11                Plaintiff,
                                                 DECLARATION OF
12         vs.                                   SHANNON OSBORNE
13 WQRLD VISIQN, INC.
14
                 Defendant.
15
16
17
18        Shannon Osborne declares:

19       1.     I have personal knowledge of the facts stated in this declaration and am
20
   competent to testify to those facts.
21
          2.    I am the Director - Contact Center Operations at World Vision, Inc.
22
23 ("World Vision" or "WV") and have been so employed since January 4, 2012.
24        3.    World Vision is a Christian ministry dedicated to spreading the gospel
25
   of Jesus Christ, primarily through humanitarian outreach to poor and underserved
26
   children and families around the world. It operates in many ways like a Christian
27
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 1 church and implements its programs through and as supported by local churches in
 2 the United States and around the world.
 3
           4.      The job posting for the role that Plaintiff Aubry McMahon sought at
 4
 5 World Vision would have required her to "Personify the ministry of World Vision by
 6 witnessing to Christ and ministering to others through life, deed, word and sign [and
 7 k]eep Christ central in our individual and corporate lives." Attached to this
 8
   Declaration as Exhibit $0-01 is a true and correct copy of this Job Posting, 2020 (P0011-
 9
10 20; P0072-77; WV0048-50).
11         5.      My responsibilities include Managing the Quality Coach team,
12 Supervisor/Manager Tealn(s), Communications and Research in Donor Contact
13
   Services ("DCS").
14
15         6.      DCS also can refer to "Donor/Customer Service," as is typical in our

16 offer letters to prospective DCS representatives such as the Plaintiff Aubry McMahon.
17 See Offer Letter (WV0078-79; P0009-10). Attached to this Declaration as Exhibit $0-02
18
   is a true and correct copy of this Offer Letter to Aubry McMahon dated January 5, 2021
19
20 (WV0078-79; P0009-10).
21         7.      As used in this Declaration, "DCSR" means a DCS Representative (or a
22 "DSRT" while in Training). All these titles refer to the same role/career path at World
23
   Vision,
24
           8.      I am personally familiar with all documents and media referenced in this
25
26 Declaration, all of which were provided to Plaintiff during discovery and bear a
27 "WV        1/
               citation number (or in the few cases of Plaintiffs production, a "P                 1/




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 1 citation number). I attest to the authenticity and accuracy of these documents and
 2 media at appropriate places throughout this Declaration.
 3
           9.     I daily work with and supervise DCS Quality Coaches, Communications,
 4
 5 Research and Managers/Supervisors and their Direct Reports in DCS, the World
 6 Vision department that Aubry McMahon sought to join as a DCSR if she successfully
 7 completed the 9 to 11 weeks of training and evaluation as a DSRT (trainee).
 8
           10.    I have direct detailed personal knowledge of the day-to-day
 9
10 responsibilities of DCSRs.
11         11.    I confirm that the following statements of fact (in this paragraph), taken
12 from the court opinions in the Spencer TJ. World Vision litigation (2008-2011), have
13
   remained true at all times of my World Vision tenure: World Vision's "overt
14
15 Christianity is especially evident to those applying for employment at World Vision"
16 because it permeates the World Vision workplace. It does so because World Vision
17 exists "only" to "spread" its "Christian faith" as "infa11ib1[y]" and "authoritative[Iy]"
18
   established by "the Bible." This faith dwells "at the heart of all" World Vision does,
19
20 including its "relief efforts," which "flow from [its] profound sense of religious
21 mission." Since World Vision "believes the key" to this mission "lies first in the hearts
22 and minds of [its] staff," its workforce consists "only [of] Christians for all positions.       1/



23
   From each member of this Christian workforce, World Vision requires a "commitment
24
25 to [this] shared faith [and] a common understanding of how that faith is lived out day-
26 to-day.I/
27
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 1         12.    I also confirm that the following statements of fact (in this paragraph),
 2 taken from the court opinions in the Spencer TJ. World Vision litigation, have remained
 3
   true at all times of my World Vision tenure:: All World Vision staff, including DCSRs,
 4
 5 are responsible for: (a) confessing they are committed Christians; (b) agreeing
 6 "wholeheartedly" with World Vision's core religious principles; (c) "communicating
 7 [World Vision's] Christian faith [and] witness," which is "integrated [into] everything
 8
   [it] does," "accurately and with integrity"; and (d) participating "regularly" in "prayer
 9
10 activities, devotionals, and weekly chapel services." A core job responsibility of all staff
11 is prayer, which "is a component of [World Vision's] work." To begin each work year,
12 "an entire work day is set aside each year for prayer," which all staff must attend.
13
           13.    World Vision's annual Day of Prayer ("DOP"), which marks the
14
15 beginning of each fiscal year in October, is a unique role for all our staff in our uniquely
16 Christian ministry. DOP 2020 occurred remotely on October 1, 2020, eight weeks
17 before Aubry McMahon applied to join our Christian ministry. A key theme for DOP
18
   2020 was seeking God's Kingdom first, as required by Scripture. Attached to this
19
20 Declaration as Exhibit $0-03 is a true and correct copy of an October 1, 2020 Email
21 from the World Vision Faith at Work Manager for DOP 2020 and the related
22 PowerPoint slides and "2020 Master Showflow" script materials for DOP 2020
23
   (WV1772-1817).
24
           14.    These DOP 2020 materials provide a few (of many) examples that prayer
25
26 is a core "component of [World Vision's] work" and a core job responsibility of all WV
27 staff. They illustrate that a core job responsibility of DCSRs is praying for and with the
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 1 persons with whom they talk../ [This coming year] we must 'seek first the kingdom [of
 2 God]' through prayer." DOP 2020, at 5 (WV1778). "Key Goals [include] praying for
 3
   our work, our donors and our staff." Id. at 4../ [Expect your] unique packet of donor
 4
 5 prayer requests." Faith at Work Manager (WV1772). "Have that document handy for
 6 the Donor Prayer Request session!" Id. at 1773. "Well, we've arrived at one of the most
 7 treasured parts of our day-Donor Prayer Requests. [W]e have the great honor of
 8                                                                                                1/
   praying for our donors. [P]1ease be sure that you honor them by praying for each one.
 9
10 DOP 2020 Script at 11:43 (WV1805). See id. at 11:46 (20-minute Donor Prayer Request
11 Video). "It never ceases to amaze me how faithful God's people are even when they
12 may be facing many difficulties in their own life. I just feel honored to have a small
13
   part in their faith journey." Id. at 12:31. See also id. at 1:36 (President's Address).
14
15        15.      Prayer is critical to World Vision's ministry. A11 World Vision staff,

16 including DCSRs, are responsible for participating in and helping to foster a "Prayer-
17 Centered Work Environment," as stated in our Orange Book: Living Out Our Values,
18
   11 (WV718). Attached to this Declaration as Exhibit $0-04 is a true and correct copy of
19
20 this World Vision Orange Book: Living Out Our Values (WV0708-0730). "Prayer plays
21 a central role in [World Vision's mission, which] is not only commanded by God but
22 also resourced by Him." (WV718). Thus, staff are encouraged to "begin and end [each]
23
   meeting in prayer." Id. "With God's Help, we will [p]ray, pray again, and pray some
24
25 more." Core Values: We Are Christian (WV0740, 4700). Attached to this Declaration as
26 Exhibit $0-05 is a true and correct copy of this World Vision Core Values: We Are
27 Christian presentation document (WV0738-0752).
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 1         16.    Prayer is pivotal for many reasons at World Vision, The following
 2 statements of fact (in this paragraph) accurately reflect World Vision's policies,
 3
   expectations, and beliefs during my tenure at World Vision. Prayer unquestionably
 4
 5 constitutes the exercise of religion at World Vision. It is plainly part of World Vision's
 6 religious worship and integral to its free exercise. Like all religious exercise, prayer
 7 begins with religious beliefs held inwardly and secretly. But it does not stop there.
 8
   World Vision, like many of America's founders, has faith in the power of prayer -
 9
10 including prayer that is silent, aloud, private, and corporate -to release the power and
11 Providence of God. Partly for that reason, World Vision believes the guarantee of
12 religious freedom does perhaps its most important work by protecting the ability of
13
   those who hold religious beliefs of all kinds to live out their faiths in daily life through
14
15 the performance of (or abstention from) physical acts.
16         17.    All the above is expected of all World Vision staff, but is uniquely
17 expected of DCSRs, who serve as World Vision's "voice, face, and heart." This is why
18
   9-11 weeks of training are required to join DCS. As stated in her offer letter, Aubry
19
20 McMahon would have had to pass 9-11 weeks of such "training and evaluation" in
21 order to join the DCS team. See Offer Letter, Exhibit $0-02 (WV0078-79; P0009-10).
22         18.    There are many good reasons for these rigorous religious requirements
23
   for the DCSR role.
24
           19.    The DCS "Mission Statement" begins, "Consumed and called by Iesus
25
26 Christ." Donor Contact Services: DCS Policies, 5 (WV425). "Being a part of DCS means
27 you are the Voice, Face and Heart of World Vision," Id. Attached to this Declaration
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 1 as Exhibit $0-07 is a true and correct copy of this World Vision Donor Contact Services:
 2 DCS Policies document (WV0421-0429).
 3
          20.    "Expectations in DCS [include] Attend & participate in Devos and
 4
 5 Chapel-part of your workday, an essential function of your job. You are the face of
 6 WV and play an invaluable role!" DSRT Training: HR Introduction, 1 (WV0430). "Key
 7 policies [include] Standards of Christian Ethics and Business Conduct-Appropriate
 8
   behavior in/out of the workplace[.]" Id. at 2 (WV0431). Attached to this Declaration
 9
10 as Exhibit $0-08 is a true and correct copy of this World Vision Donor DSRT Training:
11 HR Introduction document (WV0430-0433).
12        21.    As part of their DCSR training, DCSRs trainees are quizzed on their
13
   ability to recognize the correct DCS Mission Statement. WV5269 (New Employee
14
15 Orientation quiz) ("Which of the following is the correct DCS Mission Statelnent?").
16 Attached to this Declaration as Exhibit $0-09 is a true and correct copy of this New
17 Employee Orientation Quiz (WV5264-5269) .
18
          22.    According to the job posting for Aubry McMahon's role, which she read
19
20 and responded to, she would be required to do the following: "Help carry out our
21 Christian organization's mission, vision, and strategies. Personify the ministry of
22 World Vision by witnessing to Christ and ministering to others through life, deed,
23
   word and sign. [K]eep Christ central in our individual and corporate lives. Attend and
24
25 participate in the leadership of devotions, weekly Chapel services, and regular
26 prayer." Job Posting, 2020, Exh. $0-01 (P0011-20, P0072-77; WV0048-50).
27
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 1         23.     As a DCSR, Aubry McMahon would interact all day with the ministry's
 2 donors, its lifeblood, striving to be "sensitive to [their] needs and pro}/[ing] with them.       1/


 3
   Id. Transformation of donors is just as vital to World Vision as that of the children they
 4
 5 sponsor. Why Focus on Donor Transformation? (WV2805-12) (so that they may
 6 "experience Jesus Christ's transforming love, grace, and power"). Variations of the
 7 word "transform" appear throughout World Vision documents concerning donors.
 8
   Attached to this Declaration as Exhibit $0-10 is a true and correct copy of this Why
 9
10 Focus on Donor Transformation? document (WV2805-12).
11         24.     As a DCSR, Aubry McMahon would be a "crucial member" of the DCS
12 team and "key liaison and 'voice of World Vision."' Job Posting, 2022 (WV184).1 She
13
   would need to carry out her role "persuasively and convincingly," DSRT Job
14
15 Description (WV181), requiring her to believe it and live it- all of it. In summary, her
16 job did, and would have continued to, include important ministerial duties. Attached
17 to this Declaration as Exhibit SO-11 is a true and correct copy of this Job Posting, 2022
18
   (WV0180-0188).
19
20         25.     These ministerial duties of a DCSR are traditional Christian ones, as

21 shown by the five companywide chapel services led by DCS produced in discovery.
22 These include the DCS-led chapel services on June 11, 2008; September 1, 2010; January
23
   22, 2013; June 26, 2019; and August 4, 2021. Each lasts up to an hour.
24
25
26 1 These phrases are from the job posting for a DSRT "class" in 2022, but they describe
27 accurately the role that McMahon sought in 2020, consistently with the job posting
     for her DSRT class. See Job Posting, 2020 (P0011-20; P0072-77; WV0048-50).
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 1        26.    I am personally familiar with DCS-led services and have participated in
 2 preparing, attending, and implementing them since I joined DCS in January of 2012,
 3
   including, specifically, attending the DCS-led chapel service on January 22, 2013, and
 4
 5 preparing, attending, and implementing the DCS-led chapel services on June 26, 2019,
 6 and August 4, 2021. True and correct video recordings of these three DCS-led
 7 companywide chapel service are being filed with this Declaration as Exhibits SO-12,
 8
   SO-13, and SO-14.
 9
10        27.    I co-organized, attended, and opened the June 26, 2019 chapel service. I

11 also recently viewed the entire video recording of this service. It is representative of
12 DCS-led chapel services during my tenure at World Vision. This June 26, 2019 chapel
13
   service timely portrays the environment and role that Aubry McMahon sought to join
14
15 in 2020.
16        28.    DCS opened this service with prayer and Bible reading (0:07-5:04)
17 followed by DCSR messages (5:05-9:35), praise and worship time (9:36-20:45), DCSR
18
   testimonials (20:46-23:26), DCSR panel discussion (23:27-48:26), more testimonials
19
20 (48:28-50:44), and closing prayer (50:45-53:05). Transcriptions of some excerpts from
21 this chapel service are provided below and speak for themselves.
22        29.    " [G]od brought us here [to DCS] to be the voice, face, and heart of World
23
   Vision [to serve] our donors in the name of Jesus.... In the last year, donors called us
24
25 over 210,000 times. We also called them over 100,000 times and ministered to our
26 donors through prayer. [We] replied to 51,000 emails and letters and prayed for nearly
27 10,000 prayer requests." (6:04-6:37)
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 1         30.    "I have been in call centers for 11 years, but nothing prepares you for
 2 [the] prayer requests. One man said his sister-in-law passed away that very morning.
 3
   Several women just lost their husbands. Many people have health and financial issues.
 4
 5 However, the Lord cares for each one. I am grateful and blessed for a chance to tell
 6 them how good the Lord is. I'm grateful they trust me to share, and I'm blessed by
 7 how much appreciation and love they give to myself and World Vision[.]" (22:00-
 8
   22:30) (Video testimonial by a DCSR).
 9
10         31.    During the panel discussion, the moderator asked this question: "How

11 has working [in] DCS impacted your faith and walk with Christ?" Below are some of
12 the responses from DCSRs. "So, from Day One, I've always felt like working in DCS
13
   [really] puts us on the front lines of World Vision, [We] openly discuss our stories, give
14
15 our testimonies, both to each other as friends, coworkers, and also to donors and have
16 them share their testimonies with us. [It] has been an incredible way to witness Christ
17 and everything that he's done for us as people, as an organization, and for our donors.          1/



18
   (24:35-25:29) "Fellowship that we have with coworkers and donors, it's so amazing.
19
20 We're praying with each other. We're praying with the donors." (27:26-27:33) "[I]t's a
21 calling to come to World Vision [where we] actually pray for people all over the world
22 when we answer [the phone] and ask, Can I pray for you? And the requests are just
23
   amazing. And then God gets to use us in a mighty way to pray for our donors[.] When
24
                                                                                                    1/

25 you work in a place that's also a ministry, it just opens this fire for Jesus within you.
26 (27:51-28:49) "[I] believe the Lord placed me [here for most] of the last decade [and]
27 simply remind[s] me to look around and see his faithfulness[.] To see it in our donors
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1    [and] in the countless stories of redemption that we hear from around the world. We
2
     have opportunity to pray with our donors, as you have heard from most every
3
     testimony from DCS today. We have opportunity to pray for one another and we have
4
5    the opportunity to pray together for those who have experienced devastation[.]"

6    (29:47-30:49)

7
           32.       So, DCS is no common call center. " [I]n prayer, the donors share so many
8
     things with us, as you've heard already. One family called [after a] terrible car
9
10   acc:ident[. T]he mother and the son were injured very badly, and they called us for

11   prayer. Well, four months later, they called us back [and] were just in joy. They were
12   healed [and] really believed that our prayers for them helped them heal [and] put their
13
     lives back together, and they just couldn't wait to share [what] God had done in their
14
15   lives. So, God is everywhere in our work and he's in our donors[.]" (39:16-39:58)

16         33.       DCSRs explained their personal "ministry" to World Vision's ministry
17   in various but interconnected ways. " [Talking to donors is] an opportunity to share
18
     what's on our hearts and to be a mouthpiece for our ministry." (40:45-40:54) "I'm glad
19
     I get to be the mouthpiece[.] I know that by opening up my mouth and allowing for
20
21   the Holy Spirit to flow like living water, this allows room for the donor to know more
22   about how they can actually help[.] Now, not everyone can actually give, but [the]
23
     Lord puts a calling in each and everybody's heart, and how they can serve. [I] also take
24
     mental notes [from] our chapels and glean information that may be useful for when
25
26   I'm talking to the donors. Next, I pour out my heart to every [caller] because we just
27   don't know [what they are] going through[.]" (41:02-42:30) "I love sharing World
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 1 Vision's needs [with] our donors[. They] just love World Vision [and] I always [tell]
 2 them what our need is. [They can] lift our need in prayer and if they are able [to
 3
   donate]. I thank them whether it's monetary or prayer. And at this time I usually hear
 4
 5 lovely stories of how God has called them to be prayer warriors or intercessor[s] and
 6 it's [a]mazing to be able to open my mouth and allow for the Holy Spirit to work.                1/



 7 (42:46-43:42)
 8
           34.    When DCSRs visit World Vision field offices around the world, they
 9
10 often experience what they as Christians view as taking their place in the Body of
11 Christ. " [I] had the life changing opportunity, like many of [us in DCS] have had, to
12 visit our colleagues in Kenya. [Our] staff in the field [say] how thankful they are - and
13
   the heroes we are to the children. [And] we protest and say, How can you say that:
14
15 you are the heroes; [you are] literally serving the children. And they say, But we
16 wouldn't be able to do any of that work if you weren't sending gifts halfway around
17 the [world]. And we say, But we wouldn't have anything to ask for if it wasn't for [the]
18
   incredible things [you are doing] with those funds. And they say, But we wouldn't be
19
20 able to do anything if not for your generous donors. And we say, But you are the hands
21 and feet of this organization. [And] they say, But you are the ears and mouths of this
22 organization. And that is what it looks like for World Vision to be the body of Christ."
23
   (46:53-48:05)
24
           35.    "Being in DCS has been a faith-building experience because you can see
25
26 God moving everywhere you look, from the obvious events in the field to the miracles
27 of every day.... The miraculous is part of our culture and something that gives us hope
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 1 daily." (48:26-48:51) "Working in DCS has impacted my faith [and] I'm constantly
 2 reminded of the privilege I have to be the voice for those who are unable to speak up
 3
   for themselves [whom] we serve in Christ." (50:27-40)
 4
 5        36.      Anthony Williams, the Director of DCS (at that time and now), closed

 6 this "DCS Chapel," referencing Luke 9:48 and 19:17. "We represent each one of you as
 7 we provide the highest level of service [to] our donors. But most of all, we obey God's
 8
   calling to be the voice for the children, the families, that we care so much about. In my
 9
10 14 and half years here, there has never been a day ... that I didn't know why God called
11 me to this place. [And when] that day comes [and] each of you is standing before
12 [God], I pray that He looks at each one of you in your faces and says, Well done, good
13
   and faithful servant: you did exactly what I asked you to do. I will now close us in
14
15 prayer ...." (51:14-52:21)
16        37.      As a DCSR, Aubry McMahon's responsibilities would have included
17 praying faithfully with donors, as illustrated by ten representative donor calls from
18
   the year 2020. True and correct audio recordings of these DCSR donor calls are being
19
20 filed with this Declaration as Exhibit SO-15. See 2020Ca111-2020Ca1110 (private info
21 redacted). These ten samples reflect the more than 15,000 prayer requests recorded
22 during calendar year 2020.
23
          38.      In each of these 2020 calls, DCSRs prayed with donors about their needs
24
25 and the needs of the children they sponsor. These donor needs included an elderly
26 1nan's constant pain, a wife's kidney infection, a 1nother's biopsy, a recent widow's
27 troubled daughter, a father's broken hip, a husband's safety as a doctor responding to
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 1 Covid, a brother-in-Iaw's wife going to hospice, a family dairy farm's fate, a churc:h's
 2 desire to rebuild its youth ministry, and an emotional young woman "really worried
 3
   that I'm going to lose my job."
 4
 5         39.     Here is one example with a female donor, in April 2020, early into the

 6 COVID-19 pandemic:
 7         Donor: "My uncle         contracted the virus [and my mom] had to make
 8         the  decision  today to remove  life support. So, please pray for my mom.
           [I]t's her big brother [and] it was sudden.... [I]f you guys could pray for
 9         my mom, I'd appreciate that very much."
10         DCSR: " [I]f you're comfortable, would you be okay if I prayed right now
           over the phone?"
11         Donor: "Yes. Definitely. That would be great."
           DCSR: "Dear Lord, I just want to lift up [donor] and her family as well
12         as her uncle specifically.... I pray for comfort and for healing for the
13         family,  specifically for [her] mother as she goes through this time with
           her big brother.... [W]e pray for comfort and for support for this entire
14         family.... So, thank you so much for your comfort, dear Lord, and we
15         thank you for loving us, in Jesus' name. Amen."
           Donor: "Amen. Thank you so much for that. I really appreciate that.
16         Thank you."
           DCSR: "Of course. And don't hesitate to give us a call. to reach out
17             Okay?"
18         Donor: "Okay. Thank you so much. And I really -I really appreciate you
           calling. It was really well timed. So, thank you." [DCS Prayer Call, April
19        1, 2020, at 0:53-3:50.]
20         40.     The following representative examples of encouraging "shout outs"
21
   from DCS managers to their staff also show how important prayer is to the work of
22
23 DCSRs. See WV3103-10 (donor identifying information redacted). "Mr. [Donor was]
24 overwhelmed when he shared [that female DCSR] prayed for him and showed him
25 the love of the Lord on their phone call amidst his own personal trials he shared with
26                                                                                                  1/
   her. He said he has never had such an amazing experience with an organization.
27
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 1 WV3103. "Michael [Donor] was blown away [by DCSR, who] offered prayer [that]
 2 deeply touched [him.] Thank you [DCSR] for reminding donors we are a ministry
 3
   ready to be God's hands and feet!" Id. at 3105. "Ms. [Donor called] leadership this
 4
 5 morning to share [her] incredible [call with DCSR, who] prayed the most beautiful
 6 prayer over [her,] straight from the heart of Jesus." Id. at 3106. "Mrs. [Donor said she]
 7 was touched by [DCSR's] prayer [and] is incredibly thankful for [our] ministry." Id. at
 8
   3107. Attached to this Declaration as Exhibit SO-16 are true and correct copies of these
 9
10 DCS manager "shout outs" to DCSRs (WV3103-3110) (donor identifying information
11 redacted) .
12         41.    The sample shout-outs continue as follows. "Susanna [Donor] wanted us
13
   to know how amazing [DCSR] is. She said [he] was compassionate, kind and so very
14
15 caring. As she [described] how [he prayed] for her she got choked up and started to
16 cry.... This [is] pure ministry [and] you understand what is truly important." Id. at
17 3108-09. "Mrs. [Donor called] to say: '[female DCSR] was amazing [and such] a
18
   blessing today for me because I asked for prayer and [she] encourage[d] me and lifted
19
20 me to the Lord and I feel amazing. She is a beautiful human being and she praises
21 GOD! She is in the right position."' Id. at 3110 (emphasis added). "Mrs [Donor] called
22 to [commend DCSR for praying for her] daughter [which] touched [her] heart. She said
23
   she believes [in] World Vision [and that DCSR] is in the right place in the kingdom of
24
25 God." Id. at 3112 (emphasis added).
26         42.    As detailed above, Aubry McMahon, to be qualified as a DCSR, would
27 need to fit the DCSR's ministerial role and duties in many ways. First, she would need
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1 to be a "key" "messenger" and "voice of World Vision." Second, she would need to
 2
     "personify its ministry" to its lifeblood of donors. Third, she would need to support
3
     donor transformation via "Christ's transforming love, grace, and power." Fourth, she
4
5    would need to combine with likeminded colleagues to be "God's hands and feet" in

 6   the "body of Christ." Fifth, she would need to perform "ministry" through outbound
 7
     and inbound calls being able to explain World Vision's ministry, its programs and how
8
     World Vision witnesses to Christ in its work and through fundraising itself.
9
10          43.    As part of our Christian faith, World Vision understands the activity of

11   fundraising and the role of the DCS staff in fundraising to be not only part of World
12   Vision's ministry but also a form of ministry in itself, "Done right, fund-raising is
13
     ministry," Christian Witness/ Ministry of Fundraising, 114.1 (WV1363), just "as
14

15
     spiritual as giving a sermon, entering a time of prayer, visiting the sick, or feeding the

16   hungry." Id. This tenet of fundraising-as-ministry is reinforced by twenty-six slides
17   included as part of World Vision's Christian Witness Immersion Program materials.
18
     See id. (WV1361-87). Attached to this Declaration as Exhibit SO-17 is a true and correct
19
     copy of this Christian Witness/ Ministry of Fundraising document (WV1360-1388).
20

21          44.    This tenet of fundraising-as-ministry is also illustrated throughout
22   World Vision's donor-focused materials. See, e.g., Reflections on Marketing &
23
     Fundraising (WV1515-56); Why Focus on Donor Transformation? (WV2805-12).
24
     Attached to this Declaration as Exhibit SO-18 are true and correct copies of these donor
25

26   transformation and fundraising materials (WV1515-1556; WV2805-2812).
27

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 1         45.    As explained above, all these ministry activities need to be performed
 2 daily by DCSRs "convincingly" to advance the Christian "mission, vision, and
 3
   strategies" of World Vision. All day they must speak with donors and colleagues amid
 4
 5 opportunities to " [p]ray, pray again, and pray some more," seeking God's power and
 6 blessings on World Vision, its donors, and its programs, as "resourced by Him.                  1/



 7 Orange Book: Living Out Our Values, Exh. $0-04, 11 (WV0718).
 8
           46.    The latter point is essential, because prayer moves God's hand. As
 9
10 explained in our Orange Book: "A PRAYER-CENTERED WORK ENVIRONMENT.
11 Prayer plays a central role in World Vision's ministry. We recognize that our mission
12 is not only commanded by God but also resourced by God. We place such a high value
13
   on prayer that we begin each fiscal year with an entire day dedicated to prayer,
14
15 thanksgiving, and reflection. In addition, we provide prayer rooms with special
16 emphases throughout the year and encourage employees to begin and end each work
17 or project meeting in prayer." Id.
18
           47.    We pray for God's help to meet donor needs and facilitate their
19
20 transformation. We pray for God's help to meet the physical, emotional, and spiritual
21 needs of the children and families the donors sponsor. Most of all, we pray to advance
22 God's kingdom through our Lord and Savior Jesus Christ. None of these goals are
23
   achievable through purely earthly powers or means. World Vision believes God, and
24
25 His Word, and believes in the power of prayer described in God's Word. That is why:
26 "With God's Help, we will: Pray, pray again, and pray some more." Core Values:
27 We Are Christian (citing Scriptures), Exh. $0-05 (WV0740).
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 1        48.    To perform the role described in detail above, Aubry McMahon would
 2 need to believe it, and live it, each day, in both her professional and personal lives.
 3
          49.    The DCSR role is not just about fundraising (as vital as that is). In the
 4
 5 words of the courts in Spencer, a primary goal of World Vision is to promote the "child
 6 sponsorship program" that "pair[s]" donors with children; some of these donors may
 7 wish to "learn about the Christian faith."
 8
          50.    The DCSR role is not just about the children (as vital as they are). DCSRs
 9
10 support donor transformation, by inspiring those donors who share World Vision's
11 faith and by sharing that faith with those who don't.
12        51.    The DCSR role is not just about the donors. DCSRs grow World Vision's
13
   ministry by sharing its mission, vision, and strategies.
14
15        52.    The DCSR role is not just about World Vision's programs. DCSRs are to

16 be likeminded colleagues and witnesses to Jesus Christ at work and elsewhere.
17        53.    The DCSR role, most importantly, is not just about this world. DCSRs
18
   play a key role fulfilling World Vision's core purpose of advancing by all means "the
19
                             1/

20 Gospel [of] Jesus Christ.
21        54.    The DCSR role, the one sought by Aubry McMahon, is about all of these
22 things. Ms. McMahon would have needed to further the goal that " [e]very current and
23
   potential donor and partner will clearly understand our mission to bear witness to
24
25 Jesus Christ-through life, deed, word, and sign-in ways that encourage people to
26 respond to the gospel of Jesus Christ." WV Christian Witness Messaging (WV1125).
27
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1       Acta~:I-fed to this Det'larat-inn as E:-:hibit 50-19 i'1l'E true and c:Jrrec-t l£"1JpiE'6 Go th83la 1l-"II!"!».-"

 I Cl-uistian Ilium-ess Messaging materials lwv111=1-11-41).
 3
             55.    World 'Uisinn can an c n mp-1 .i5 Ih its EMislian mission 0n1}f lu Igor extent II
 4
                                                                                                   in 13
 5 rernaira free lu determine which hires E1I the "right pnsilinn" ctr "right pique"
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 F           56.    In my view, there is nu Worll:l "I.Fisil;m without' la} the dunnrs f ust of
  8
    wh4;=nrI Shane its fall]'L and thus apncra8nr, pray fur, write to, and sustain the children mat
  9
10 qui qummnn purple]; [be the children [many of whom Imam ab-l;j:ut this faith); and {:}
11 the staff l[wh::le5e shared faith `i:ind]e5 internal synergies and gari'nnrs G¢:d'5l:fI1Ervide11:n:l_t.
12           55",    In the rule that' she sm181"1, Aubry Mcm;1hun was 14
                                                                                           . | T," bea
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13
    "vui¢e"' Ear, and be a "'masueng11~r" for World '4'3sin~11'8 Faith. That r4:1IE required her
1-1
15 wh»;11e11n1-artlzd assent- sharing World '!-*i.==li:m'5 faith-tu perform and prum|:»*te it
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1'_;'   suppurtera, zulieaglues, and the public- She was to ""Iivl![ it] out day-tu~da§.-'." Those
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        we're Mr n.»spcmsihi]ities. Tlwy were religious. Thuey wnru impcvrtanh And t11E}' 1*-"EDB
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        key m World "lv'i8inn'5 mi56i¢:m.
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21               I dcdalt !.1.rldc~r penalty of p":l'jur!," -under tlle laws of the Etatu of 'Washington

1.1     that the foregoing is true and c u we t t .

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                 SIGNED this §»~"day of April. SUB, al' '§`";u-:.»- .~s'+~r=.1                     'll-'lll'a_¢-»1-lin;l5l1:»n.

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                                                           LI
World Vi5inn i5 hiring Customer Service
Representatives



D1 At a Glance



Start date: Training fer this pesitien will begin
February "ist (training is estimated to be between 9
and 11 weeks ieng)

Hours' Call center heure are ram - rpm P5T (nr
Elem - rpm EST] Mended-Friday. We ere clewed en
weekeride! You will work EI fulltime shift within this
timeframe.

Salary compensation: $13 - $15 per hour
depending un Ipcatienfcpst of living, as well 35 a
comprehensive benefits package.

Lgtatign* U5 remote (work reml:-te1y from ycaur own
home!]
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Required Experience: Hgh scheel gr.-3duatejGED
CIT equhra ent. Basic routine work experience. prefer
a minimum Fifi year previous customer
service/eelea were experience. Muff; have eccese to
El reliable, high speed internet rznnrlectinrl.



D1 ThE]Db




                                                       m
D1 ThE _]Tb




A5 a Custerrier Sermfite Representative, j,rtlu will
participate in a training program to gain a working
knewiedge and understanding of the pesitien,,,3,rgd

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to perform the essential functions pf the Jeb at a
level pf performance that consistently meets
expectations. You will learn. understand and
develop the skills necessary to acquire and maintain
dcrnar relationships thrpugh basic inlaclund and
eutbeund calls. 5erve as a liaison between deers
and the general public as well as prpvide basic
levels of customer service fer all special prpgrams.
Help carry put pur Christian prganizatien's missipn,
vision. and strategies. Persc:-nify the ministry pf
World Vision by witnessing to Christ and ministering
to pthers through life, deed, word and sign. You will
alsp...




   . Keep Christ central in our individual and
     cc-rpdrate lives. Attend end participate in the
     leadership of devclticins, weekly Cha pel
     services. and regular prayer.
   . Maintain reliable, regular attendance. Report
     to wprk an time and return 'from breaks and
     lunches on time.
   . Under supervision, learn to answer inbound
     customer service calls and make dutbdund

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         calls, to current and potential deners in
        I'E5l1IDI"l5E to all media presentations and




                                                                                     8
       response to: all media presentations and
       World 'Vision products and services. Answer
       incoming calls using an Automated Call
       Distribution system utilizing a standard script
       far guidance. Recognize and respond to up-
       se11 opportunities and actively cross-sell ether
       WV programs when appropriate.
     . Through training and active participation,
       gain the skills necessary to assess callers'
       needs and input information accurately and
       efficiently using data entry and tern-key skills.
     . Achieve and maintain an acceptable level of
       individual statistics to accomplish Call Center
       business goals.
     . Develop skills to utize technology for
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        maintaining 3l"l'[1 upoatlng 0D I"l{1l' inf ormation
       as appropriate.
.      Accepts constructive feedback and welcomes
       instructor and direction.
.  Under supervision, research and effectively
   respond to inquiries utilizing a variety of
   resource materials and methods,
'D Learn and effectively communicate World

   'vision's involvement in ministries and
   projects around the world.
. Wor1< collaboratively with team members.
. Ee sensitive to Donor's needs and pray with
   them when appropriate.
. Perform other duties as assigned.
. Keep informed of organizational
   announcements, activities and changes via
   regular reading of the W'v'U5 Intranet and
   other corporate communication tools.




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03 About World Vision U5A When you work at
World Vision, your passions and talents come
together to meet the greatest needs in the world
today. We go to ends of the earth and into the
margins. Where few go and the road is less
traveled. Eecauselesus is alive in the hardest places
to be a child. We are dangerously sob-hearted. But
just the right kind of dangerous. That's because
we're a g obal Christian humanitarian organization.
We partner with children, families, and their
communities to reach their full potential by tackling
the causes of poverty and injustice. We empower
people out of poverty. For real. For good. For nearly
the last TO years. Jesus' love at the center. Always.
We're Christian and followjesus' example to show
unconditional love to the poor and oppressed.
Serving every child we can regardless of faith. Are
you feeling called to explore joining us? We hope
so.




04 Let your work be your faith in action Eve.r;,*

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d a y, n e a r l y 1 6 , 0 0 0 c h i l d r e n u n d e r t h e a g e o f 5 d i e
from preventable causes. Our call to acticin is
urgent. That's why we're lddking far someone whci
is ready to place their expertise behind helping the
we:rld's meat vulnerable children. Every strake of
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       The Intersection of Ceiling and Career

       World Vision is hiring Customer Service Representatives



        01 At a Glance
       Start date: Training for this position will begin February 1st (training is estimated
       to be between 9 and 11 weeks long)

       Hours: Call center hours are 6am - 6pm PST (or 9am - 9pm EST) Monday-Friday.
       We are closed on weekends! You will work a fulltime shift within this timeframe.

       Salary/Compensation: $13 - $15 per hour depending on location/cost of living,
       as well as a comprehensive benefits package.

       Location: US remote (work remotely from your own home!)

       Required Experience: High school graduate/GED or equivalent. Basic routine
       work experience. Prefer a minimum of 1 year previous customer service/sales work
       experience. Must have access to a reliable, high speed internet connection.



       01 The Job
       As a Customer Service Representative, you will participate in a training program to
       gain a working knowledge and understanding of the position and to perform the
       essential functions of the job at a level of performance that consistently meets
       expectations. You will learn, understand and develop the skills necessary to acquire
       and maintain donor relationships through basic inbound and outbound calls. Serve
       as a liaison between donors and the general public as well as provide basic levels of
       customer service for all special programs. Help carry out our Christian
       organization's mission, vision, and strategies. Personify the ministry of World Vision
       by witnessing to Christ and ministering to others through life, deed, word and sign.
       You will also...




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            1. Keep Christ central in our individual and corporate lives. Attend and
                participate in the leadership of devotions, weekly Chapel services, and
                regular prayer.
            2. Maintain reliable, regular attendance. Report to work on time and return from
                breaks and lunches on time.
            3. Under supervision, learn to answer inbound customer service calls and make
                outbound calls, to current and potential donors in response to all media
                presentations and World Vision products and services. Answer incoming calls
                using an Automated Call Distribution system utilizing a standard script for
                guidance. Recognize and respond to up-sell opportunities and actively cross-
                sell other wv programs when appropriate.
            4. Through training and active participation, gain the skills necessary to assess
                callers' needs and input information accurately and efficiently using data
                entry and ten-key skills.
            5. Achieve and maintain an acceptable level of individual statistics to
                accomplish Call Center business goals.
            6. Develop skills to utilize technology for maintaining and updating donor
                information as appropriate.
            7. Accepts constructive feedback and welcomes instruction and direction.
            8. Under supervision, research and effectively respond to inquiries utilizing a
                variety of resource materials and methods.
            9. Learn and effectively communicate World Vision's involvement in ministries
                and projects around the world.
            10.Work collaboratively with team members.
            11.Be sensitive to Donor's needs and pray with them when appropriate.
            12.perform other duties as assigned.
            13.Keep informed of organizational announcements, activities and changes via
                regular reading of the WVUS Intranet and other corporate communication
                tools.



       03 About World Vision USA When you work at World Vision,
       your passions and talents come together to meet the greatest needs in the world
       today. We go to ends of the earth and into the margins. Where few go and the road
       is less traveled. Because Jesus is alive in the hardest places to be a child. We are
       dangerously soft-hearted. But just the right kind of dangerous. That's because
       we're a global Christian humanitarian organization. We partner with children,
       families, and their communities to reach their full potential by tackling the causes of
       poverty and injustice. We empower people out of poverty. For real. For good. For
       nearly the last 70 years. Jesus' love at the center. Always. We're Christian and
       follow Jesus' example to show unconditional love to the poor and oppressed.
       Serving every child we can regardless of faith. Are you feeling called to explore
       joining us? We hope so.




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       04 Let your work be your faith in action Every day, nearly 16,000
       children under the age of 5 die from preventable causes. Our call to action is
       urgent. That's why we're looking for someone who is ready to place their expertise
       behind helping the world's most vulnerable children. Every stroke of the keyboard,
       shift in strategy, and innovation in our marketing of fundraising initiatives can help
       influence whether someone chooses to help today or not. If not you, then who?



       05 Salary Range & Benefits Your salary is important to you so it's
       important to us. As mentioned above, the hourly rate for this role will range from
       $13 to $15, depending on location. We have a robust and comprehensive benefits
       package as well, with health, vision and dental coverage offered during
       training. Click here to learn more.



       06 To Apply See the Apply box in the lower left corner.


       07 You bring
             High school graduate/GED or equivalent. Basic routine work experience
             Prefer a minimum of 1 year previous customer service/sales work experience
             Must have access to a reliable, high speed internet connection
             The ability to multi-task in a fast pace environment
             Must be able to train and work 40 hours a week
             Have strong technical skills with all Microsoft Office Suite
             The ability to type 20 wpm or more
             Enjoys making a difference in the world!
             Must be available to start training on February 1st



       **Candidates selected for this position will have a probationary period
       during the estimated 9-11 week training program.




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  1/5/2021

  Aubry McMar1on
  5008 west street
  Indian Trail, North Carolina 28079


  Aubry,


  On behalf of World Vision, Inc., I am pleased to provide you with this letter as written confirmation of our verbal offer for
  the full-time position of Donor/Customer Service Representative Trainee (DSR Trainee) commencing on 2/1/2021. Your
  corresponding grade level is 212 and you will be paid a rate of $15.00 per hour on a bi-weekly basis with adjustments within
  the framework of World Vision, Inc. policy. Consideration for employment as a Donation Services Representative l is
  dependent upon successful completion of the training and evaluation program (predicted to be between 9 and II weeks).
  Your regular attendance is required during this period. Should a separation occur, you will be eligible for payment for hours
  worked only.


  Policy information and required regulatory documents will be emailed to you through Dayforce, our online on-boarding
  program. In accordance with World Vision, Inc. policy, as a trainee you are eligible to receive all legally mandated benefits, such
  as worker's compensation and health care which includes the related benefits of Flexible Spending Account (FSA) and
  participation in the Wellness Program. Eligibility does not include other WVUS benefit programs. Upon successful completion
  of your thirteen (13) week program and placement as a DSR l, you will be eligible to participate in all other applicable WVUS
  benefits programs. A Human Resources representative will meet with you shortly after you are hired to explain the benefits
  you are eligible for and that are effective at the beginning of your training period. A second meeting will be held after you
  successfully complete your training period and you are placed in a DSR l position to explain the other applicable benefits in
  which you will then be eligible to participate.

  As a condition of employment, you will be required to sign and comply with a Non-Disclosure Agreement (NDA), which
  among other things, prohibits unauthorized use or disclosure of World Vision US proprietary information. You are required
  by law to present original documentation to establish (1) true identity and (2) eligibility to be employed in the United States
  within (3) business days of the date your employment begins. Verification of eligibility for employment is required for you to
  continue your employment with World Vision, Inc.


  As noted in the application form, employment with World Vision, Inc. is at the mutual consent of the employee and World
  Vision, Inc. Accordingly, while World Vision, Inc. has every hope that employment relationships will be mutually beneficial and
  rewarding, employees and World Vision, Inc. retain the right to terminate the employment relationship at will, at any time,
  with or without cause. Likewise, World Vision, Inc. will have the right to make revisions to our policies, compensation or
  benefits at any time based on the needs of the business with or without advance notice.

  Aubry, we are pleased to have your participation in our Donor Representative Training Program and look forward to seeing
  how God will use your talents and gifts to further His work here at World Vision, Inc. Please feel free to call me if you have
  any questions or if there is anything further l can do to assist you.



  Best Regards,

  Catherine Mirilla


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  Talent Acquisition Partner
  World Vision USA


  My signature indicates that I have read, understand, and agree with the terms and conditions outlined in this letter.



                                       Signature                                                              Date


  To this end we always pray for you, that our God may make you worthy of his colling and may fulfill every resolve for good and every
  work of foith by his power, so that the Nome of our Lordjesus may be glorified in you, and you in him, according to the grace of our
  God and the Lordjesus Christ. (2 Thessalonians 1:1 7-12, ESV)




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       Dear colleagues:

       It is my pleasure to provide you with this resource, The Orange Book: Living Out Our Values.
       I trust it will equip you for this season in which God has called you to tal<e part in His miraculous
       impact for kids and families worldwide.

       In my corporate career before coming to World Vision, I learned valuable lessons about the
       importance of accountability, trust, and mission focus. In a Christ-centered organization such
       as World Vision, the stakes are much higher and these qualities take on a greater signi1"icance.

       Every organization needs to know why it exists, what drives it, and where it is going. For
       World Vision, our key documents provide these answers          answers we need to be the best
       and do the best we can in witnessing to the incredible love ofjesus Christ through our world.

       Our mission and vision statements and core values provide the inspiration and foundation for
       how and why we operate with accountability and transparency. We are committed to doing the
       right thing, which means complying with both the spirit and the letter of the laws that govern our
       ministry. Conducting ourselves according to our Christian values helps us earn and keep the public
       trust and the respect of those we serve.

       I ask that you review this employee guidebook and familiarize yourself with essential employee
       resources, especially the WVUS Policy Manual. These resources outline WVUS policies and set
       forth expectations for us, as employees and volunteers, on how we do business with others. lt
       is important that you understand the implications of your decisions in the workplace and comply
       with policies and procedures relevant to your work. Policies help us put our values into practice as
       we continue to allow the Holy Spirit to transform us from within.

       Living out our Christian values requires each of US to give our full commitment. The responsibility
       lies with all of us-it's mine, it's yours, it's ours. This organization has a strong reputation around
       the world, and l am counting on you to help protect it, and to always act in the best interests of
       World Vision with a high degree of integrity and Christian ethics.

       Thank you for embracing and implementing our core values, for committing to the high standards
       that define who we are, and for your partnership in working toward our mission and vision.

       Sincerely,


       a6§~=»»-=»-=--~ **
       Edgar Sandoval Sn
       President, World Vision U.S.

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World Vision is an international partnership of Christians whose mission is to follow our Lord and
Savior Jesus Christ in working with the poor and oppressed to promote human transformation,
seek justice, and bear witness to the good news of the kingdom of God.

More on our mission statement




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       WE ARE CHRISTIAN
       We acknowledge one God: Father Son, and Holy Spirit. In 1esus Christ the love, mercy, and grace
       of God are made known to US and all people. From this overflowing abundance of God's love we
       find our call to ministry. We proclaim together "Jesus lived, died, and rose again. lesus is Lord."
       We desire Him to be central in our individual and corporate life.

       WE ARE COMMITTED TO THE POOR
       We are called to serve those in greatest need around the world, to relieve their suffering and to
       promote the transformation of their condition of life. We stand in solidarity in a common search
       for justice. We seen to understand the situation of the poor and world alongside them toward
       fullness of life.

       WE VALUE PEOPLE
       We regard all people as created and loved by God. We give priority to people before money,
       structure, systems, and other institutional machinery. We act in ways that respect the dignity,
       uniqueness, and intrinsic worth of every person     the pooh our donors, our staff and their families,
       our boards, and our volunteers. We celebrate the richness of diversity in human personality,
       culture, and contribution.

       WE ARE STEWARDS
       The resources at our disposal are not our own. They are a sacred trust from God through our
       donors on behalf of the poor We are faithful to the purpose for which those resources are given
       and manage them in a manner that brings maximum benefit to the poor

       WE ARE PARTNERS
       We are members of the international World Vision Partnership, which transcends legal, structural,
       and cultural boundaries. We accept the obligations of joint participation, shared goals, and
       mutual accountability that true partnership requires. We affirm our interdependence and our
       willingness to yield autonomy as necessary for the common good. We commit ourselves to l<now,
       understand, and love each others

       WE ARE RESPONSIVE
       We are responsive to life-threatening emergencies where our involvement is needed and
       appropriate. We are willing to take intelligent risl<s and act quickly. We do this from a foundation
       of experience and sensitivity to what the situation requires. We also recognize that even in the
       midst of crisis, the destitute have a contribution to mal<e from their experience.

       More on our core values

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       OUR WITNESS                                            OUR FAITH AT WORK

       World Vision staff are committed to glorifying         Our workplace should reflect our unity and
       God and to witnessing, through both word and           love for each other in Christ. World Vision
       deed, to His redemptive work and love in the           staff, both individually and corporately, are
       person of His Son, Jesus Christ.                       called to pursue an ever greater integration of
                                                              and obedience to the teachings oflesus Christ
       Our lives, our deeds, our words, and the signs
                                                              and the biblical principles that underlie our
       of God's action are inseparable means of
                                                              organization's mission. While acknowledging
       conveying the gospel and obeying the biblical
                                                              each individual's personal responsibility for
       mandate to serve the poor Words clarify the
                                                              spiritual enrichment, World Vision seel<s to
       meaning of our deeds, deeds verify the integrity
                                                              enhance the spiritual development of its staff
       of our words about less Christ, and signs are
                                                             through the provision of time and structure for
       the acts of God in the midst of what we do
                                                              devotions, pro)/en chapel, biblical reflection, and
       and say. We cannot separate who we are from
                                                              other opportunities to mature in relationship
       what we do as we aim to world in a manner
                                                              with Christ.
       that encourages people to be lifelong followers
       of Christ.                                             OUR SERVICE
       Our desire is to model Christ-lil<e behavior           As we holistically serve those in physical and
       at and away from work, at all times, so that           spiritual need, World Vision encourages staff
       people will be drawn to placing their faith in        to embrace a deeper relationship with 1esus
       Him and following His compassionate lordship.          Christ, to use language and methods that are
       World Vision recognizes that effective Christian       God-honoring and truthful as measured against
       witness is first expressed in the personal lives of   the standards of Scripture, and to be sensitive
       staff and how we love and serve one another.          to culture and audience, seeking to unify rather
                                                             than divide.
       OUR ONENESS IN DIVERSITY

       World VisionS staff represent many Christian          "We are therefore Christ's
       traditions and expressions. Despite this
       diversity, we share a common commitment to
                                                              ambassadors." His kingdom
       what World Vision states about faithfulness in         is one of "l<indness, justice
       biblical belief and conduct. This commonality
                                                              and righteousness."
       strengthens World Vision and helps US better
       understand the diversity among those we serve.              (2 Corinthians 5:20, jeremioh 9:24)




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       World Vision offers assistance to those in                We believe that for the salvation of lost Gnd sinful
       need regardless of their religious beliefs                mon, regeneration of the Holy Spirit is absolutely
       and without taking advantage of people's                  essential.
       vulnerability or mal<ing any attempt to coerce
                                                                 We believe in the present ministry of the Holy
       a change in their faith.
                                                                 Spirit by whose indwelling the Christian is enabled
       On behalf of the pooh neglected, and                      to live O godly life.
       marginalized, World Vision advocates for
                                                                 We believe in the resurrection of both the saved
       the biblical justice modeled bylesus Christ in
                                                                 Gnd the lost; they that ore moved unto the
       our interactions with individuals, communities,
                                                                 resurrection of life and they that ore lost unto
       and institutions such as churches, businesses,
                                                                 the resurrection of domnotion.
       and governments.
                                                                 We believe in the spirituci unity of believers in
       Christian Commitment and Witness Policy
                                                                 our Lordjesus Christ.
       As the foundation for all we do, our
       Christian faith is a uniting factor among
                                                                 THE APOSTLES' CREED
       staff All World Vision U.S. staff are asl<ed and          l believe in God, the Fetter almighty, creator of
       expected to affirm belief in World Vision's               heaven and earth.
       Statement of Faith and/or the Apostles' Creed.
                                                                 l believe in Jesus Christ, his only Son, our Lord,
       STATEMENT OF FAITH                                        who WOS conceived by the Holy Spirit, born of the
                                                                 Virgin /l/Iory suffered under Pontius Pilate,     us
       We believe the Bible to be the inspired, the only
                                                                 crucified, died, and WOS buried; he descended
       in follible, outhorimtive Word of God.
                                                                 to the dead. On the third day he rose again, he
       We believe that there is one God, eternally               ascended into heaven, he is seated ot the right
       existent in three persons: Father Son, Gnd                hand of the Father and he will come again to
       Holy Spirit.                                              judge the living and the dead.

       We believe in the deity of our Lordjesus Christ, in       I believe in the Holy Spirit, the holy catholic
       His virgin birth, in His sinless life, in His miracles,   church, the communion of soints, the forgiveness
       in His vicarious and atoning death through His            of sins, the resurrection of the body, and the life
       shed blood, in His bodily resurrection, in His            everlasting Amen.
       ascension to the right hand of the Father and in
       His personal return in power and glory




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       FAITH AT WORK                                       Him. We place such a high value on prayer
                                                           that we begin each fiscal year with an entire
       One of the primary objectives of World Vision
                                                           day dedicated to prayer; thanl<sgiving, and
       is to follow Christ in serving the poor by
                                                           reflection. In addition, we provide prayer
       demonstrating GodS love through our
                                                           rooms with special emphases throughout the
       interactions with each other and those we
                                                           year and encourage employees to begin and
       serve. Faith exhibiting itself at world means
                                                           end each work or project meeting in prayer
       Christ and His love are at the center of all
       we do.                                              EXPECTATIONS OF BEHAVIOR

       WEEKLY CHAPEL                                       World Vision staff are committed to glorifying
                                                           God and to witnessing, through life, word, and
       World Vision staff are invited and expected
                                                           deed, to His redemptive work and love in the
       to worship every week (usually Wednesday)
                                                           person of His Son, lesus Christ. We do this by
       in an organization-wide chapel in Federal Way
                                                           following Him individually and corporately, in
       (or in the Washington, DC. office). Employees
                                                           accord with our understanding of the teachings
       working in other locations may stream the live
                                                           in His Word, the Bible. By doing so in all
       broadcast of the Federal Way service. Each
                                                           aspects of our lives and world, we call others to
       weel<'s chapel service is intended to encourage
                                                           a life-changing commitment to serve the poor
       employees and to remind us that our mission is
                                                           in the name of Christ.
       focused on the work of Christ to the poor
                                                           World Vision staff members are expected to
       TEAM DEVOTIONS
                                                           comply with the Business Ethics and Christian
       Each World Vision team is expected to               Conduct policy, adhere to all U.S. laws and
       spend one additional hour each week in team         World Vision policies, and conduct themselves
       devotions. Teams have the flexibility to schedule   with uncompromising honesty and integrity.
       these devotions as fits best in their weekly
                                                           Business Ethics and Christian Conduct Policy
       schedules. Devotions are an excellent way for
       each team to pray for and focus their labors on
       the overall mission of God.

       A PRAYER-CENTERED WORK
       ENVIRONMENT

       Prayer plays a central role in World Vision's
       ministry. We recognize that our mission is not
       only commanded by God but also resourced by



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       OUR COMMITMENT                                      World Vision is committed to providing an
       TO VALUING PEOPLE                                   environment free from hostility and unlawful
                                                           harassment in any form, et., sexual harassment
       World Vision is committed to valuing our
                                                           or unlawful harassment based on any
       employees. The We Value People policy
                                                           protected status.
       describes our commitment to valuing people
       and recognizes our shared responsibility to         Employees with questions or concerns about
       ensure an environment in which our employees        any type of discrimination or harassment in the
       can realize their full, God-given potential and     workplace are encouraged to bring these issues
       which enhances the well-being of our staff. We      to the attention of their immediate supervisor
       celebrate the richness of diversity in human        or Human Resources.
       personality, culture, and contribution. We focus
       on leadership, engagement, accountability,          (I) Equal Opportunity Policy;
       talent, inclusion, execution, and rigor             (2) Anti-Harassment Policy,
                                                           (3) Reasonable Accommodation Policy
       EQUAL OPPORTUNITY,
       NON-DISCRIMINATION,                                 COMPENSATION AND BENEFITS
       ANTI-HARASSMENT, AND
                                                           World Vision maintains a compensation
       REASONABLE ACCOMMODATION
                                                           and benefits program which comprises
       World Vision provides equal employment              elements that:
       and advancement opportunities to all                .   Attract and retain qualified employees at
       individuals. As such, employment decisions at
                                                               all levels of responsibility
       World Vision are based on merit qualifications
                                                           .   Reflect the value of jobs in the labor market
       and abilities of applicants and employees and
       on the operational needs of the organization.       .   Are externally competitive, while being
                                                               internally consistent and fair
       World Vision does not discriminate in
       employment opportunities or practices on            .   Provide the flexibility to reward employees
       the basis of race, colon sex, national origin,          on the basis of individual performance and
       age, disability, or any other characteristic            contribution to the achievement of the
       protected by law. World Vision is a religious           organizations goals
       organization, exempt from Title Vll as to           .   Comply with World Vision U.S. Board of
       discrimination based on religion. World Vision
                                                               Directors' directives
       will make reasonable accommodations for any
                                                           .   Comply with state and federal laws and
       qualified employees and/or job applicants with
       respect to terms, privileges, or conditions of          regulations, including all applicable minimum
       employment because of an individual's disability.       wage, overtime, and wage and hours laws


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       CONFLICTS OF INTEREST                                an occurrence of fraud, illegal activities, waste,
                                                            or abuse within World Vision is observed or
       When engaged in World Vision operations,
                                                            suspected, the observer is expected to report
       officers, staff, and volunteers are required to
                                                            the concern to management or confidentially,
       act in World VisioNs best interests and to
                                                            as provided in the Integrity Hotline Policy.
       ensure that business and financial dealings
       and/or relationships do not cause situations         (I) Fraud, Illegal Activities, Waste, and Abuse
       where they may appear biased.                        Policy: (2) Integrity Hotline Policy

       A conflict of interest arises when a staff           INFORMATION SECURITY
       member has a personal relationship or a
       financial or other interest that could interfere     Appropriate use of technology is founded on

       with their obligation to act in the best interests   professional, honest, and ethical behavior that

       of World Vision, or when they use their              demonstrates consideration for others, respect

       position with the organization for personal gain.    for data privacy and intellectual property rights,

       Please refer to the Conflict of Interest Policy to   and concern for con1"identiality, integrity, and

       review common situations where potential or          availability of the data entrusted to us by our

       actual conflicts of interest might arise.            constituents.

       Conflict of Interest Policy                          The Information Security General Policy
                                                            outlines World Vision's expectations on
       FRAUD, ILLEGAL ACTIVITIES, WASTE,                    the handling of data of all classifications,
       AND ABUSE                                            including personally identifiable information.
                                                            World Vision provides the utmost care
       Our continued success depends on all staff
                                                            and security in the handling of donor
       members conducting World Vision business
                                                            funds and personal financial information,
       with the utmost integrity and transparency.
                                                            including adherence to regulatory and legal
       Prioritizing the organization's best interests
                                                            requirements, to honor our supporters'
       ensures that fraud and wasteful spending do
                                                            trust in the organization as outlined in
       not impair our ability to achieve our mission.
                                                            our Donor Funds and Personal Financial
       Each staff member regardless of tenure               Information Policy.
       or position, plays an important role in the
                                                            At World Vision, we believe that information
       stewardship of World Vision resources.
                                                            security is a shared responsibility. The
       lt is not acceptable to turn a blind eye to
                                                            Technology Acceptable Use Policy contains
       fraud, wasteful spending, or internal control
                                                            examples of allowed and disallowed uses for
       violations. Any suspicions or concerns are to
                                                            World Vision computing resources. We all
       be raised through the appropriate channels. If



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       help protect the organizations donor data,      standards they apply to their offline conduct.
       confidential information, and World Vision
                                                       As such, World Vision's social media policy
       systems and networks to avoid compromising
                                                       works alongside, not in place of, other
       information integrity or security.
                                                       existing policies and protocols. Please refer
       (I) Information Security General Policy:        to the Social Media Policy to gain a thorough
       (2) Technology Acceptable Use Policy;           understanding of the general principles that
       (3) Donor Funds and Personal Financial          World Vision employees are expected
       Information Policy                              to follow when engaging in the social
                                                       media sphere.
       ACCURACY OF REPORTING AND
       RECORDS                                         How a staff member communicates through
                                                       social media depends on whether they are
       World Vision corporate records are to be
                                                       doing so on behalf of World Vision in their
       true, accurate, and complete, and data is to
                                                       role, or whether their use is of a personal
       be promptly and accurately entered into
                                                       nature. Before posting or engaging in online
       our accounting bool<s in accordance with
                                                       comments, the following should be considered:
       Generally Accepted Accounting Principles
                                                       .   How does this statement elevate the name
       (GAAP). World Vision's Record Retention
       and Destruction Policy is administered              of Christ?
       in accordance with applicable state and         .   How will this statement build World Vision's
       federal laws.                                       brand equity?
       Record Retention and Destruction Policy         .   Do I completely understand the implications
                                                           of my statement for my organization and for
       APPROPRIATE USE OF SOCIAL MEDIA
                                                           the rest of the World Vision Partnership?
       World Vision engages people through a variety   .   How will the statement enhance my
       of communication tools, including the use of        credibility when read by others?
       social media.
                                                       .   Is my statement in compliance with
       World Vision approaches social media                World VisioNs child protection standards
       opportunities with the intent to build our          and protocols?
       brand equity in order to bring social and       .   Am I sharing any confidential, restricted,
       economic justice to the poor and the
                                                           proprietary, or private World Vision
       marginalized in the name oflesus Christ.
                                                           information?
       Employees are expected to approach their
       online conduct with the same ethics and         Social Media Policy



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       WORLD VISION PARTNERSHIP                         Our vendors are valued partners in the success
                                                        of our organization. Employees' relationships
       World Vision is an international partnership
                                                        with them are to be characterized by honesty
       of Christians. Guided by the Holy Spirit, our
                                                        and fairness. Vendors are selected on a
       corporate pilgrimage brought the Partnership
                                                        competitive basis, when required, according
       to an understanding of what it means to be in
                                                        to the Contracting and Purchasing Policy and
       relationship and ministry together Sensing the
                                                        established procedures. Terms and conditions
       need to express these shared understandings
                                                        defining our relationship with vendors are
       as a framework for joint global action, the
                                                        communicated early in the vendor selection
       World Vision Partnership formulated a
                                                        process, and signed agreements to such
       Covenant of Partnership. The Covenant is
                                                        terms and conditions, or any acceptable
       based on the principle of interdependent
                                                        modi1"ications, are reached before work
       national entities held together under God, by
                                                        begins. Included in these agreements are
       voluntary commitment.
                                                        World VisioNs standard terms and conditions
       We affirm the spirit of citizenship in the       regarding payment, confidentiality, child
       kingdom of God described in Ephesians:           protection protocols, and the use of
        .. fellow citizens with God's people and        intellectual property.
       also members of his household, built on the
                                                        World Vision works with governments
       foundation of the apostles and prophets, with
                                                        that are donors. World Vision's policies
       Christ lesus himself as the chief cornerstone"
                                                        and procedures require strict observance
       (Ephesians 2:l9-20).
                                                        of the laws and regulations which govern
       World Vision protects the shared                 grants by governmental entities, whether
       World Vision trademark, learn more in            in the United States or in any other country.
       the WVUS Trademark and Logo Policy.              lt is World Vision's policy that all statements
                                                        to government officials, including grant
       WVUS Trademark and Logo Policy
                                                        of1"icials, are accurate and truthful, including
       FAIR DEALING WITH VENDORS                        financial data.
       AND DONORS
                                                        World Vision does not knowingly, unless in
       World VisionS success depends on building        possession of a government license to do so,
       productive relationships with vendors and        engage in transactions with "blocked parties"
       donors based on ethical behavior and             (individuals and entities to whom the U.S.
       mutual trust.                                    or other countries-in order to prevent
                                                        terrorism, narcotics traf19cking, weapons




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       The Orange Book: Living Out Our Values is a resource guide for employees. It is not intended to
       describe every policy that may apply to you while working at World Vision (WVUS/World Vision).
       All current corporate WVUS policies are available on The Vine (WVUS intranet) under the left-
       hand blue Policies and Procedures tab.

       You should periodically review all WVUS policies, as we are all responsible for complying with
       them. If you have questions, asl< your supervisor, HR Business Partner, or staff in the Audit and
       Risk Management Services, Legal, or Office of Accountability, Compliance, and Ethics (ACE)
       departments.

       This guidebook and our policies are not a contract, express or implied. Nothing in the guidebook
       or policies changes your right, Ol" the right of WVUS, to separate and end employment at any
       time with or without cause ("at will"). WVUS can change and revise this guidebook at any time
       without notice.

       WVUS Policy Hub




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       ON THE VINE (wvus INTRANET)

       Resources                                            Support
       .   Faith at Work                                    .   Audit and Risk Management Services (ARMS)
       .   Orange Pages                                     .   Corporate Services
       • Help Desks                                         .   Finance
       .   Organizational Charts                            .   Grant Solutions
       .   My Life. My Benefits.                            .   Human Resources
       .   Forms                                            .   information Systems
       .   Integrity Hotline                                .   Legal
       .   Crisis and Closure                               .   Security
       .   Policies and Procedures (WVUS Policy Manual)     .   Travel
                                                            .   Vendor and Contract Services




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                                                                                    8,7
  We acknowledge cme Gcid: Father, Sen, and Help

  Spirit. In jesus Christ the Ice, mercy, and grace of
                                                                                                     -*-I l

  God are made known to us and all people. From this
                                                                                                                          9'
  cnferflewing abundance of God's Ice we find Eur call

  to ministry. We proclaim together: "]esus lived, died
                                                                                                                   _,l"

  a.nd rise again. Jesus is Lord." We desire Him to be                        44                                     Hg'
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  central in Eur individual and cerperate life .
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                         rim
         5eek God with all my heart, and celebrate Christian eemmunityr.
                                                                                                                8,7
         Be in the world. hut ncft of the world.

         Relate to ethers in humility and lute at all times, when trust is                                                       -*-I l
         broken fer whatever reason, take the initiative fer
         recenciliatien.                                                                                                                               9'
         Nut let the sun go: down on my anger.

                                                                                                                                                _,l"
         Pray, pray again, and pra\,r same mare
                                                                                                          44                                     1 ;
                                                                                                                                          'be

Scrlpsure: Medic I2:2SI,' Infen 1?:15-/8, Epees. 4:2, Epees. 4:25, Car. 4:2.. z Cor, 10:4, Fphes. 5: 18
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                                                                                                 "IDENTI3!nL
                                                                                   World vigil




  We are called to serve the neediest people of the
         _ .l       .n...! 55.-_-    ._||='_-      .!
  earth, to relieve their suffering and to promote the
  transformation of their condition of life. We stand in
  solidarity in a common search fer justice. We seek to
                       -.      ......
  understand the situation of the peer and work
   -!     .             ..!,-J1s.'"1-.;!.
  alongside them toward fullness of life.




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                                                                                                              World "v"i5iu
                                                                                                                                   IDBNTIAL

                        rim
        Seek to fellow Jesus Christ in his identification with the peer.
                                                                                                                                          .-1q
                                                                                                                                           so..
        Advocate fur the pour at all times, with wisdom and humility.
                                                                                                                   38
                                                                                                                     33
        Embrace simplicity - "absarving and practicing at all lcv-als a
        modest lifestyle."
                                                                                                                                  Et'
        Journey with the pnfmr, in partnership.



                                                                                                'ul

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Scnpturer malt. 5F36, Ps. 14-11-12, Pray. 22-2                                                  1"141                                     L14-



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  We are members of an international World Vision
 Partnership that transcends legal, structural, and cultural

 boundaries. We accept the obligations of joint

 participation, shared goals, and mutual accountability
                                         _ I
 that true partnership requires. We affirm our
 4.   .e_- TRI.      Le       4-          _44__-
 mterdependence and our wIllm8ness to yield autenemy
 as necessary fer the CDmmorl geed. We commit
              _   l   l _        I . :    l -   l _   l   - l   _
  ourselves to know. understand. and leave each other
WM'-000743




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                         rim
      Conduct myself so that the common good prevails. Seek.
      the common good of the Partnership as well as my office.
                                                                                               ul-




      Seek out eppertunities to partner whenever beneficial.


      Earn the trust of all partners with words used and deeds
      done.                                                                                                   .H




Scripture: pnlr. 2:4,2I; Gal 5:2; Eccles. 4:I2; J J'chn 3:18


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                                                                                      World 'Wsiuri .




  We are responsive to life-threatening emergencies
                   *B                   ..n.
  where our involvement is needed and appropriate.                   \




  We are willing to take intelligent risks and act quickly.
  We de this from a foundation of experience and
       l   l   +               |»   *          +    .:.1.
  sensitivity to what the situation requires. We also
                                                            ..Ill.
  recognize that even in the midst of crisis, the destitute
  have a contribution to make from their experience.


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                                                                                                                    World Vision
                          rim
        Understand that I may be asked to do new things 5D                                                     'I             VI
                                                                                                                                       "-.Qu
        that Werld Vision can bring Kingdom resources to                                              1:1                              | l.   l_l




        alleviate suffering as quickly as possible.                                                                                L 'H

                                                                                                                               2:1
                                                                                                                             ..'-4-°

        Provide appropriate information readily to others to
        facilitate our Mission.

        Act with courage when circumstances are extreme                                                 E"'3'-'-r




Scripture:Isaiah 6:8,' 2 car. IJ:2.?j.' 2 car. 4:.2; Harm 4:I3.; FMF. 4.-6,13

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                                                                                                         lu?
                                                                                                          NTI!



                                                                                                    --us-1

  The resciurces at GUY disposal are nut DUI' OWN. They

  are a sacred trust from God thru:-ugh dcmcirs en                            't"
  behalf of the pcncic We are faithful to the purpose fer
  which these resources are given and manage them in

  a manner that brings maximum benefit to the peer:                                                          EC' " F

                                                                               VI




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                                                                                                                              lu?
                                                                                                                               NTI!

                         rim
                                                                                                                         --us-1
         Steward my 'DWT time well, celebrating we»rI<,family,
         community and the Sabbath in a balanced way.

         Do: all tasks to do& best of my Gad given ability, far Gc.'~d's                           't"
         glory.

         Conduct myself wide honesty. eye and integrity at all times.

         Use authorityfpewer as a sacred trust fur the benefit of the                                                             EC' " F
         peer.

                                                                                                    VI

Scripture: Fx. 31:14, car. 3:23, car. 349, Prmr. 31:9




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  We regard all peeple as created and loved by Ged.
  We give prierity to peeple before money, structure,
  systems, and ether institutienal machinery. We act in
   ways that respect the dignity, uniqueness, and intrinsic

   werth of every persen-dwe peer, the deners, our
  staff and their families. beards. and volunteers. We
  celebrate the richness ef diversity in human
  personality, culture, and centributien.
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     Celebrate the value and dignity of every person and culture. Seek to                                                   -'II="""!""" '4
                                                                                                                                               1-

     camrnunicate and understand from ether cultural perspectives, and
     celebrate my participation in {3ed's global family.
                                                                                                                                               _-...3 _



     Joyfully contribute to a healthy work environment lay:
                                                                                                                            ,I-T1      'R

                                                                                                                            °*L
              Speaking receiving the truth in love.
                                                                                                                                              LT I
              Being quick to listen, slow to speak and slow to become anger.
              Being a servant follower or leader, es appropriate.
              Having my "Yes" mean "Yes," and mir "No" mean "No."
              Repeating and asking forgiveness when appropriate.
              Making every effort to keep the unity of the Spirit
                                                                                                                                                     _'H


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     What is one thing you can do today
     to incorporate the WVUS Core Values
     the way you make decisions and your
     behavior at work?

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     Donor Contact Services : DCS Policies
     This page last changed on Apr 30, 2020 by clujan.

     Attendance


     During the COVID-19 pandemic, all WVUS employees are required to complete a form to report their
     sick time to the HR Leave Administrator. Those who normally report sick time to Ops will continue to
     follow the normal DCS process. Include in your email to Ops if your outage is either related to COVID-19
     or not. Ops will then complete the form for you.

     Policy Statement

     Punctuality and regular attendance are essential functions to insure optimal productivity and an
     exceptional donor experience. In order for DCS to achieve these goals employees are required to
     maintain a satisfactory record of attendance. The following is DCS's policy on attendance.

     Attendance Policy

     All employees are expected to report to work on time every day that they are scheduled to work and
     to maintain a satisfactory record of attendance. If an employee is unable to report to work they are
     expected to notify the Operations Desk before the start of their shift at 253-815-5858 or 888-511-6543.
     When calling and reporting out for work, coming in late for your shift, or leaving before the end of your
     shift, the reason for the time away from work needs to be provided. The employee is responsible for
     providing the reason and relationship (if not for self) in order to ensure the time away from work is coded
     correctly.

     All non-exempt employees within DCS are expected to be at their workstation, signed in and prepared
     to start their scheduled shift on time. An employee who is absent from work without notifying the
     Operations Desk may be determined to have abandoned their job and thus be separated from
     employment. (WVUS Operational Policy O-240.60).
     A minimum of two (2) business days are required for advance notification of all foreseeable
     appointments, including scheduled appointments for FMLA, state designated sick time, or other protected
     medical appointments. Failure to provide such notice may results in corrective action independent of the
     performance action levels listed below.
     Pre-approved time off is exempt from the attendance policy. Pre-approved time off requires a minimum of
     2 business days advance notice.

     Provisions

          Occurrences (Tardy, Absence and Days) will be counted on a rolling 12-month basis
          Leadership or Human Resources may request documentation of sickness, as appropriate
          Accelerated corrective action is at the discretion of leadership
          Attendance Policy is for all non-exempt DCS employees
          Approved additional hours can be cancelled within 24 hours. Less than 24 hours or not showing up
          for approved hours will be subject to the attendance policy guidelines
          You may not log on more than 5 minutes prior to your shift

     Definitions and Guidelines

     Occurrence
        - An occurrence is an unscheduled absence or late arrival (tardy) not protected by FMLA or other
           federal, state, or local protected leave.
        - If only a portion of a day is protected by FMLA or other protected leave, an occurrence may be
           issued for the unprotected portion.
        - Occurrences will apply for any unprotected portion of approved leave i.e. STD and WPFMLA.
           Occurrences are counted as outlined below under Tardy, Absence and Days
     1. Tardy

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           Not ready to serve the donor at the start of your scheduled shift time
           Arriving late up to 1 hour and 59 minutes into your shift
           Returning 1 or more minutes late from scheduled activity, such as: Breaks, Lunch, Devotions,
           Meetings, etc.
           Each Tardy is counted as 1 tardy occurrence
     2. Absence
           Each of the following is counted as 1 absence occurrence:
           Not present for your scheduled shift
           Arriving more than 1 hour and 59 minutes late for scheduled shift
           Logging off the system 1 or more minutes before the end of your scheduled shift
           An absence that occurs because of an illness on consecutive days will be considered as 1 occurrence
           Day of Grace - if you are out sick for a full day, attempt to come to work on your next scheduled day
           and find it too soon, leaving early will not count as a new absence occurrence
           Any absence 5 or more days in length will require a return to work note from your doctor
     3. Days
           Number of days out for an absence occurrence (does not include occurrences that count as tardy or
           6any days out that are protected under any Federal, State, or other leave).
           Please note: Even if an absence is counted as a continual occurrence, each day out will count
           towards Days. For example, if an employee is out on three separate times for unplanned sick for
           2 days each (after any protected time off), that would be a total of 3 Absence Occurrences and 6
           Days.
           Days will be counted as outlined below:

            8-hour Shift              9-hour Shift               10-hour shift           4-hour shift                    5-hour shift


               Amoun Days                Amoun Days                Amour Days                 Amoun Days                   Amount Days
               of                        of                        of                         of                           of
               Time                      Time                      Time                       Time                         Time
               Missed                    Missed                    Missed                     Missed                       Missed

               Up         0.25           Up to      0.25           Up to         0.25         Up           0.25            Up to    0.25
               to 2                      2.25                      2.5                        to 1                         1.25
               hours

               2 to 4     0.5
                                         2.5
                                         to 4.5
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                                                                   hours

                                                                   2.5
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                                                                                              hour

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                                                                                                                           1.25 I 0.5
               hours                     hours                     to 5                     hours                          to 2.5
                                                             I     hours                                                   hours
               4 to 6     0.75           4.5 to     0.75                                      2 to 3       0.75
               hours                     6.75                      5 to          0.75         hours                        2.5 to   0.75
                                         hours                     7.5                                                     3.75




                                                                         I
               6 to 8     1                                        hours                  Eto 4            1               hours
               hours                     6.75       1                                      hours
                                                                                                                 J
                                         to 9
                                         hours
                                                           l     I 7.5
                                                                   to 10
                                                                 UIOUFS
                                                                                                                           3.75
                                                                                                                           to 5
                                                                                                                           hours
                                                                                                                                    1




     Performance Action Guidelines for Tardy, Absence Occurrences and Days




       Absence and Days                             Occurrences/Days                             Performance Action

       Absence Occurrence                           4 Occurrences                                Verbal Warning/Satisfactory

                                                    5 Occurrences                                Written Warning/Unsatisfactory




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                                            6 Occurrences                        Final Written Warning/
                                                                                 Unsatisfactory

       Days                                 7 Days                               Verbal Warning/Satisfactory

                                            8 Days                               Written Warning/Unsatisfactory

                                            9 Days                               Final Written Warning/
                                                                                 Unsatisfactory


       Tardy                                Occurrences/Days                     Performance Action

       Tardy Occurrences                    5 Occurrences                        Verbal Warning/Satisfactory

                                            6 Occurrences                        Written Warning/Unsatisfactory

                                            7 Occurrences                        Final Written Warning/
                                                                                 Unsatisfactory


     Medical Related Absences
     Any protected leave approved by the Human Resource Leave Administrator is exempt from the
     attendance policy. Approved but unprotected leave such as STD and WPFMLA will be subject to the terms
     of the Attendance Policy.
     Guidelines for Policy Overrides
     We are aware that emergencies may occur. These will be reviewed by the Director or Senior Director on a
     case-by-case basis.
     Exceptions
     The DCS Attendance Policy is for incidental absence and tardy tracking. Any absence or leave that falls
     under any local, state, or federal protection is excluded.
     Resources to request time off for DCS:
          Health Care Appointments (Medical, Dental, Vision)
          FMLA Appointments
          Vacation time is requested through Webstation
          Personal Time as approved by manager, up to a maximum of 24 hours can be used for full-time and
          to 18 hours can be used for part-time employee.

     Employee Paid Sick Leave (WSDS)

     You are entitled to accrue paid sick leave. The leave will accrue at least one (1) hour of paid sick leave for
     every 30 hours you work.

     You may use accrued paid sick leave beginning 90 calendar days after the start of your employment.
     You may use this accrued paid sick leave for the following reasons:
          To care for yourself or a family member (please refer to Sick Leave policy for eligible family
          members).
          When you or a family member is the victim of sexual assault, domestic violence, or stalking.
          In the event our business or your child's school or place of care is closed by a public official for any
          health-related reason.
     World Vision's accrual year is January 1st to December 31st,
     A minimum of 40 hours of unused, accrued paid sick leave will be carried over to the next year. Accrued,
     unused leave over 40
     hours will be forfeited.
     Retaliation for using paid sick leave for authorized purposes is prohibited.


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     If you have any questions, please ask your Manager, HR Business Partners or HR Leave Administrator.
     ** These accrued hours are not in addition to the paid sick leave World Vision provides, these
     are the number of hours protected under WSDS.


     Bldg 2 Cafeteria

     Important things to know about using the patio
          The back door from the lunchroom to the patio will be available to exit and re-enter bldg 2 from
          Monday - Saturday, 8am - 5pm. There is a card reader that WV staff will swipe their access cards
          to come back in from the patio (where to swipe your access card is clearly marked). Make sure only
          WV staff come back in with you for security purposes.
          Important to note - if you attempt to exit thru the patio door before or after the hours above, the
          alarm will sound.
          The card reader will not allow you to re-enter outside of the hours indicated above.
          In the event of an emergency, the patio door can be used to exit the building if you are in the
          lunchroom when the emergency occurs.
          Because the public access trail is adjacent to the new patio, we will not be able to have the white
          outdoor chairs on the bldg 2 patio as we are concerned that people passing by after hours might
          come up onto the patio and be tempted to permanently borrow those chairs. Staff should feel free
          to bring their camp or beach chairs to sit in but they cannot be left or stored outside as we cannot
          take responsibility for these items.
          The interior lunchroom tables and/or chairs CANNOT be taken out onto the patio as the concrete will
          damage the casters and scratch the lunchroom floor.
          From the new patio door to the far southern end of the building, the exterior windows all along
          the 1st floor are part of Texas Instruments' leased space. Therefore, please be considerate of our
          tenants by not actively looking into their windows/offices, or congregating at the exterior door.
          As the weather changes, please expect adjustment of the days/times the patio door will be available
          for use.

     Desk and Computer Management

     Access and use of these systems is a privilege, not a right, and they shall be used in an efficient, ethical,
     and professional manner, consistent with state and federal law and World Vision policies and guidelines.
     World Vision reserves the right to monitor Internet communications and/or usage at its discretion. WV
     considers internet Email to be like any other business document and is the property of the company. User
     files may be subject to search under court order if such files are suspected of containing information that
     could be used as evidence in a court of law.
     Appropriate use reflects professional honesty and ethical behavior and demonstrates consideration in the
     use of various computing resources such as networks and file servers. It shows respect for intellectual
     property, ownership of data, system security mechanisms, the rights of others to privacy and to freedom
     from intimidation, harassment, and unwanted annoyance.
     In no case should any confidential material be disseminated using the WVUS Network without appropriate
     authorization. "Confidential material includes but is not limited to donor, operational, or financial
     information, and all other World Vision material not approved for public release."
          DCS employees are to use Internet for World Vision business ONLY.
          DCS employees are to avoid inappropriate sites and users may not download, print, store, or
          distribute information that is considered personal in nature.
          DCS employees are not to misuse the company resources to "hack" or cause damage to other
          networks, including the company's system.
          DCS employees are to avoid using sites that contain material that is inappropriate and is not work
          related. Inappropriate material includes, but is not limited to, that which is generally considered
          offensive, obscene, or sexually explicit, games, "chat" sessions, and some discussion or news
          groups.
          Calls with screen capture may be recorded/monitored for quality and training purposes.
          Designated computers in the break room may be used during lunch and breaks.
     Note: Accelerated corrective action is at the discretion of leadership.


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             First occurrence = verbal warning
             Second occurrence = written warning
             Third occurrence = grounds for disciplinary action up to and including the possibility of
             termination.

     DCS Mission Statement

     "Consumed and called by Jesus Christ,
     me passionately act in urgency excellence, integrity and humility
     me joyfully provide unprecedented service with our partners
     on behalf of those in need around the world "

     We are all working together to achieve the Mission of World Vision and DCS. This Handbook outlines the
     policies and guidelines to give all members of DCS the ability to provide world-class services to each of
     our donors and potential donors.
     Being a part of DCS means you are the Voice, Face and Heart of World Vision. This challenge requires
     that each of us think of ourselves as servants, demonstrating flexibility, and servicing the donor(s)
     with a smile. Without these values our donors cannot receive the quality of service DCS prides itself on
     providing. This also means we have to be here when donors need us. Sometimes that may mean working
     late in the evening, sometimes on the Holidays when pre-scheduled or authorized. Regardless of when
     the donors call, DCS is committed to being here.
     Let us remember Paul's message in Romans 12:5-7 "... so we though many, are one body in Christ...
     Having gifts that differ according to the grace given to us, let us use them... if service, in our serving,"
     Let us always strive for excellence in all we do in the name of Christ Jesus!
     We believe in mutual respect between all people.
     We are responsible for accountability, ultimately to the Lord.
     We believe in high expectations and a high level of performance.
     We believe in working together to achieve a common goal: Working collaboratively to serve the poor
     in Jesus' name.
     We believe in open lines of communication, urgency, excellence, integrity, and humility.
     We will be kind and compassionate to one another, forgiving each other, just as in Christ, God forgave
     us.

     Donor Mistreat

     DCS and World Vision are committed to servicing our donor's needs and providing quality service at all
     times. Conduct that does not support this commitment is unacceptable and will result in accelerated
     corrective action, up to and including termination. All instances will be investigated and are subject to
     management discretion.
     Unprofessional conduct includes, but not is limited to the following:
           . Misuse of donor information (personal or professional use)
           . Disconnecting a call without providing quality service to the donor for both inbound and outbound
              calls. There will be zero tolerance for hanging up on a donor (or potential donor).
           - Not following through with a donor's request
           . Inappropriate words, tone, or actions when servicing a donor. This includes using offensive
              language, arguing, and being rude, abusive, or demeaning to the donor.
           - Mis-terminating a call. Rescheduling 'no's' or choosing 'yes' when a donor said 'no' or 'maybe.'
           - Giving inaccurate information to a donor. (Giving your opinions or not researching to find the correct
              information).
           - A donor writes or calls regarding poor service.
           - Any other unprofessional service or behavior.

     Dress Code

     It is the responsibility of each manager/leader to ensure that the style of dress of his or her employees
     is acceptable. All employees are expected to dress professionally and appropriately for the work of their
     department.
             World Vision employees are to dress with good taste, modesty and safety.

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          Employees' dress, like our manner and personal conduct, must consistently be reflective of Christ in
          us as a witness.
          As a leader in the Christian community, World Vision desires to be looked upon as an example of
          excellence in our field.
          Public tours of the facilities are an aspect of public relations. What we do and wear affects attitudes
          of the community and our constituency.
     For examples of acceptable and unacceptable clothing and other details, please visit the World Vision
     Dress Code Policy here.

     Use of Scents and Fragrances

     Your station neighbor and others you work with may have allergies to scents and fragrances, so please
     refrain from wearing such products during your shift. Products to avoid include perfume/cologne, scented
     lotions/oils, and heavily scented soaps (i.e., body wash, laundry products, etc).

     Corrective Action

     Accelerated corrective actions are at the discretion of the leadership
          First occurrence: Verbal warning
          Second occurrence: Written warning
          Third occurrence: Grounds for disciplinary action up to and including the possibility of termination
          (For more information please see: wvUs Operational Policy 0-270.10)

     Eating at Your Desk

     In order to keep our keyboards functional and our desks clean, here are examples of the types of foods that are
     okay to eat and drink at your desk. Small snacks are okay, but meals are not. Eating is never okay, of course,
     when you're talking with a donor.




      J
      Samples of foods allowed
                                            x
                                           Samples of foods not
                                           allowed




     Employee Conduct

     To assure orderly operations and provide the best possible work environment, World Vision expects
     employees to follow standards of conduct that will protect the interests and safety of all employees
     and World Vision. World Vision expects a high standard of conduct in the behavior of its employees.
     Appropriate conduct, whether on duty or off, is expected at all times while on World Vision property.
     Compliance with common sense rules of conduct is the responsibility of all employees.
     It is not possible to list all the forms of behavior that are considered unacceptable in the workplace. The
     following is a partial list of the specific kinds of conduct that may result in disciplinary action, up to and
     including termination of employment.


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        - Theft or inappropriate removal or possession of property belonging to World Vision, a co-worker, or
           a vendor
        - Falsification of timekeeping records
        . Being on World Vision property under the influence of alcohol or illegal drugs
        - Possession, distribution, sale, transfer, or use of alcohol or illegal drugs in the workplace, while on
           duty, or while operating employer-owned vehicles or equipment
           Fighting or threatening violence in the workplace
        . Boisterous or disruptive activity in the workplace
        - Negligence or improper conduct leading to damage of employer-owned or customer-owned property
        - Insubordination or other disrespectful conduct
        - Violation of safety or health rules
        - Smoking in prohibited areas
        . Sexual or other unlawful harassment
        - Possession of dangerous or unauthorized materials such as explosives or firearms, in the workplace
        . Excessive absenteeism or any absence without notice
        - Unauthorized absence from workstation during the workday
        - Unauthorized use of telephones, mail system, or other employer-owned equipment
        - Unauthorized disclosure of confidential information
        . Violation of personnel policies
        . Unsatisfactory performance or conduct
     These standards are provided for your information. World Vision reserves the right to determine, at its
     sole discretion, whether an employee has committed one of the offenses identified in this list or any
     other offense that warrants discipline, and to determine the degree of discipline that may be appropriate.
     Employment with World Vision is at the mutual consent of World Vision and the employee, and either
     party may terminate that relationship at any time, with or without cause and with or without advance
     notice.

     Entry to DCS, Bldg 2, thru Security Gate

     DCS and Bldg 2

     Please always have your badge available when entering Building 2 and the call center.
     If you've forgotten your badge, please ring the doorbell (near the restrooms) on the second floor to get
     buzzed in. You will to need to sign out a temporary badge through Ops.
     For added security, those without badges wanting entry into Bldg 2 through locked doors or any of the
     DCS offices must check in at the Security Desk in Building 1.

     Security Gate

          The gates will be open from 6am to 6pm Monday thru Friday. They will be locked outside of these
          hours, including all day on Saturday.
          To enter the parking lot during locked hours, please use the main gate at building 1. You will need to
          swipe your key card at the card reader.
          To leave the premises when the gates are locked, you must exit through the main gate at
          building 1. It's the only gate that is equipped with a weight sensor that will trigger it to open when
          you want to leave.
     DCS is open on Saturdays during holiday season. If you forget your key card on Saturday, know that
     Security is on site at 6am but may not be in the kiosk area inside building 1 to buzz you in until a little
     after 6am. Please park at building 3 and walk over to building 2. Follow normal procedures to get into the
     building when you don't have your key card.

     Flex Time

       1. The minimum amount of flex time that can be requested will be 30 minutes.
       2. Flex time will be limited to 1 request per calendar month regardless of whether the request is for 30
          minutes or 4 hours. Exceptions need to go through your supervisor.
       3. Vacation time needs to be used first unless we are in busy season and are expecting high volumes/
           workloads.




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     Handling Donors' Credit Card Information

     World Vision takes donors' financial privacy very seriously and developed a policy on how to protect
     that privacy. Because DCS is in continual contact with donors' bank information, we are responsible for
     adhering to the policy evermore so :
     DCS staff should never:
       1. Write down a donor's credit card number
       2. Type a donor's credit card number in Word, Notepad, or any other software application, even if the
          intention is not to save the information but preserve it during a system issue (e.g., imminent DV
          crash)
       3. Email a donor's credit number internally or externally (exception: if referencing a donor's existing
          credit card, you may email the last 4 digits to DP when necessary)
       4. Enter the complete number in an account note or task (exception: if referencing a donor's existing
          credit card, you may enter the last 4 digits in the account note/task)
     For your reference, an excerpt of the World Vision policy is available below. To read the
     complete policy, click here. All World Vision staff must adhere to the complete policy to be in
     compliance.
     STATEMENT OF POLICY:

     World Vision requires that all employees who handle donor funds and personal donor data, read,
     understand and follow this policy. This policy was established to provide protection to both World Vision
     employees and donors.
     The organizational policy is for funds (cash, checks, money orders, EFT, and/or credit card information)
     delivered directly from the donor to the Donation Processing Department in Federal Way. This also
     includes funds collected through third party relationships.
     CAUTIONS

        . NEVER RETAIN photocopies or hand-written copies of donor credit card or banking information. The
           risk of fraudulent activity can occur just as easily from the routing number across the bottom of a
           donor's check as it could with their credit card number.
        - NEVER USE interoffice mail to route donor funds or personal financial information. Donor funds
           must be hand-delivered to Donation Processing immediately upon receipt---Monday-Friday, 8:00
           a.m.-4:00 p.m. PST. Funds received after normal WV business hours or from a location other
           than the Federal Way campus, must be locked Ur) and secured to limit access to donor funds and
           personal information. [See Procedure #130.22 for further details concerning access to Donation
           Processing and logging in donor funds.]
        - NEVER SEND donor funds or personal financial information to any other person or mail stop in the
           Federal Way office or elsewhere.
        - NEVER SEND donor credit card or banking information via email or FAX.
        - NEVER include the words "Donation Processing" on any return envelopes.
        . NEVER forward donor funds through WV inter-office mail envelopes.
     REMITTING DONOR FUNDS

          Fund-raising campaigns and response device language should always request that donations be
          remitted directly to World Vision's Federal Way Incoming Mail Center, M/S 110.
          Development, church and other representatives should ask donors to send checks directly to World
          vision and supply a standard WV donor response envelope with appropriate World Vision address.
          Partner events (i.e., Artist Associates, 30 Hour Famine, Women of Vision, etc), should include
          training and instructions for the responsible World Vision employee or volunteer.

     Internet Usage

     Be advised that all Internet use will be logged by the Systems Administration Group. This means that
     every site visited and every file downloaded by you will be a matter of record. Managers may request
     reports of usage where abuse is suspected. Logs may be reviewed for sites and downloaded files that are
     deemed inconsistent with wvus Internet Use Policy and Guidelines.
     Suspected inappropriate use will be reported.


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     Personal Calls

     DCS is an inbound / outbound contact center. Therefore, our responsibility is to respond to our customers
     in a timely manner and be good stewards of the resources that have been entrusted to us. Following are
     guidelines to adhere to:
          DCS World Vision Telephones are to be used ONLY to carry out World Vision Business.
          No personal calls should be made or received at your workstation. Please use the telephones
          installed in the break room or in the phone booth located by the south stairwell exit.
          Only give out the 253-815-5858 for emergency messages from school or day care, family or friends
          and/or medical offices. Please advise the department management of any emergency personal calls
          or need to check on a pressing situation (i.e. sick child, medical test results, etc).
          Personal long distance calls are NOT permitted. Exception can be made in case of an emergency,
          please see department management for assistance.
          No cellphones in use on the floor AT ANY TIME.
          Do not invite, encourage or suggest that people call you on the World Vision published 800/888
          numbers for personal reasons.
          All calls are recorded/monitored.
          In case of emergency, your family members can contact you through the Operations Desk at
          253-815-5858.
              ° IMPORTANT NOTE: The Operations Desk Emergency Line should not be used for personal
                 calls. The Operations Emergency Line should not be given for personal calls unless the call is
                 an emergency or in which you need immediate notification such as a doctor's call, daycare
                 or family emergencies. Callers are notified that the line is for Emergencies only and to try to
                 reach employees at home.
     The following steps may be taken if it is observed that a representative is making or receiving personal
     telephone calls while on duty:
          First occurrence = verbal warning
          Second occurrence = written warning
          Third occurrence = grounds for disciplinary action up to and including the possibility of
          termination
     Accelerated corrective action is at the discretion of leadership.

     Work At Home (WAH)

     Guidelines and Procedures

     Proqram Overview
     Self-Assessment Survev
     Supervisor Review
     Onsite Assessment
     Final Agreement

     Your World Vision Account

     The personal Donor Vision accounts of DCS staff members should be created and updated through the
     same means as any other donor accounts. Please do not handle transactions on your own account or ask
     a DCS peer to do it for you.
     If you wish to create a personal account or update your existing account you may call the DCS toll-free
     number to do so or you may go online to create an account or handle any applicable online updates.

     See also WVUS policy Hub - additional policies
                                                                                                                   I




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                                                                                                       5/14/18
  DSRT: HR Introduction / Initial On-Boarding Meeting                       (allow 1.5 hours)
  Notes: Vine, Dayforce, Policy Hub, & Wiki links all loaded on tabs
  Talking Points
  Manager - Kick off meeting / Intros / Manager's Role/ Any Supervisor remarks ( 25 minutes max)

         O   DCS Policies / Wiki __
                          Attendance and punctuality:
                            Working in the contact center is more stringent than other areas. Any idea why?
                            DCS is directly connected to the donor and why staff need to arrive to work on time
                            each day and be ready to take calls versus other areas in the organization. When
                            you are late or call out sick it also impacts your team members who have to step up
                            and cover the workload. This also includes break and lunch periods.
                            As a Trainee, it is important to be here every day and on time.
                            DCS Attendance Policy - questions?
                    Timekeeping process
                    Donor Mistreat / DCS conduct policy.
                    As a Trainee you are being evaluated weekly. It is not just WV evaluating you but you
                    should be evaluating WV as well. Is this the right work environment/culture for you?
                    During the fall/winter, busy season, DCS is open on Saturday and may have extended
                    operating hours which differ from the rest of the Federal Way campus. Sometimes
                    employees have to work following a holiday which at times may feel different from the rest of
                    the organization. Nature of the work.
                    Faith will send out notifications regarding open positions in DCS. Not eligible to apply as a
                    Trainee. Once you are full-time and fully meeting job requirements (6 months) then you can
                    apply if you are qualified. Your primary task is to focus on successfully completing the
                    Trainee training period at this time.
                    WV policy "Employees Applying for a New Position". Guideline states be in position for at
                    least 12 months.
                    Expectations in DCS
                        .   Be to work every day
                        •   Arrive to work on time including from breaks and lunch periods
                        •   Attend & participate in Devos and Chapel - part of your work day, an essential
                            function of your job
                            You are the face of WV and play an invaluable role!
                            Issue resolution - if you have an issue with another person, go to them first (Matthew
                            18:15). Can utilize Lisa, me or Shannon Osborne for guidance in how to work an
                            issue.
                    Questions??




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  Lisa:   General Talking Points (25 minutes)
          O My role as a HR BP
          O We provide business unit specific strategic and consultative services to leadership. I support
            Anthony Williams and Shannon Osborne who are the Directors of DCS, and to the supervisors of
            DCS as well.
            Examples: layoffs, discipline, disabilities, security, training, employee relations issues.
          O HR also looks out for and supports our employees - all of you.
          O HR Help Desk x5555
          O Faith's role as a recruiter versus my role as BP. Faith can assist with resume review/interviewing
            coaching. Contact me for other questions/issues you have.

          O   Information Resources
                    Intranet / "The VINE" - check the headlines daily for updated WV news (check with your
                    supervisor on appropriate times to check)
                    Dayforce is where you can update your personal information (phone and home address,
                    emergency contacts, direct deposit, W-4).

          O   Miscellaneous
                     Pay date - every other week:
                            Friday, June 1 is first pay day - Covers pay period of May 14 - 25
                            Questions: Any idea what the number 1 most frequently observed unethical
                            behavior in the US workplace is? Answer: Misuse of company time. This includes
                            covering for someone who shows up late, clocking for someone else, misuse of log-
                            in credentials or carving a little time off your work day here.
                            Don't do it - misrepresentation of time worked violates WVUS policy and serious and
                            may be subject to corrective action, up to and including termination.
                            Chapel and team devotions - Paid time to gather with one another and worship.
                     Opportunity to get involved / lead devos or help at Chapel (work with you supervisor).
                     Required Trainings - Outlined in Red Carpet Tasks. Taken in World Vision University.
                     Questions?

          O   Policies and Procedures
                 Encourage you to visit the WVUS Policies and Procedures page -- it is your responsibility as an
                 employee to read and understand WV's policies. Contact me or the HR Help Desk if you have
                 any questions.
          O   Key policies / other areas we want to address today:
                     Standards of Christian Ethics and Business Conduct -
                              Appropriate behavior in / out of the workplace adhering to WV's Core Value and
                              Mission Statement
                     Harassment policy -
                         .    Establishes World Vision's commitment to providing an environment free from
                              hostility and unlawful harassment in any form. (Will complete this training after
                              onboarding - need to check as completed in RC)
                     Violence in the Workplace -
                              World Vision is committed to providing a workplace that is free from acts of violence
                              or threats of violence. Possession of weapons of any kind on WVUS premises,
                              including in vehicles, while conducting WVUS business is strictly prohibited.



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                    Integrity Hotline -
                            When an employee observes or suspects any violation of law, regulation, or World
                            Vision principles of integrity, honesty, and truthfulness such employee is expected to
                            report the concern to the appropriate party(ies)
                    Non-retaliation -
                        • World Vision will protect any employee, director, volunteer, outside vendor, or
                            contractor from harassment, retaliation or adverse action, for reporting to World
                            Vision or law enforcement in good faith, any reportable Incident or Risk
                    Employee Grievance -
                        •   How WV handles disputes or complaints within workplace
                    Safety policy -
                        • establishes World Vision's commitment to providing a healthy and safe workplace
                    At Will Employment -
                            Employment with World Vision is not for a specified term and is at the mutual
                            consent of the employee and the organization. Accordingly, either the employee or
                            World Vision may end the employment relationship at will, with or without cause, at
                            any time.
                    Political Expression -
                        • While this is not a presidential election year, politics is still in the air. WV is a tax-
                            exempt organization and is strictly prohibited from supporting or opposing any public
                            campaign or candidate. Limit conversations and activities to off-duty hours, such as
                            breaks or before or after work.
                    Drug Free Workplace -
                        • establishes World Vision's commitment to a Drug Free Workplace
                    Unemployment Compensation - World Vision is self-insured (not eligible through WV)
                    Work references -
                        • describe World Vision's response to a prospective employer's request for reference
                            information about a current/former employee


        o Benefits (35 minutes)
                "Benefits at a Glance"
                In addition to being eligible for EAP, you are also eligible for Workers' Compensation.
                As Trainees you are eligible for all legally mandated benefits which includes:
                    •    Health
                    •    Dental
                    .    Vision
                    .    Prescription
                    .    Wellness
                    •    FSA
                    •    State Paid Sick Leave Accrues - 90 waiting period
                Once you successfully complete the 13 week Trainee program, you are eligible to
                participate in all other applicable WV benefits such as
                    .    Life insurance
                    .    403(b)
                    .    Cash balance plan
                    •    STD / LTD
                    •    Vacation, sick leave
                    .    l'll meet a second time to review these benefits, policies, etc.
                Onboarding tasks are assigned in Red Carpet - check your personal email for Red Carpet.
                Benefit Enrollments via Dayforce. NOTE: If you don't complete the health benefits election
                within 31 days, you will be considered to have elected WAIVED and will not be eligible to
                enroll in a health plan until Open Enrollment or unless you have a Qualifying Life Event.
WV-000432

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               If you don't want the WV benefit plan, you can elect "Market Place" through the State of
               Washington but you still need to waive the WV plan. If you are already on Market Place,
               you can switch to the WV plan. Compare the premiums and coverage.
               You have 31 days to complete your benefit enrollment. Your legally mandated benefits are
               effective the date you became a Trainee. Don't wait till the 31st day to elect benefits as
               Payroll will go back to the prior pay periods to collect the plan premiums. The sooner you
               complete, the easier it is on your paycheck. The Flex Plan is not retroed back.
               If you are enrolling dependents, you will need to include the SSN numbers (state
               requirement).
               Employee Benefits homepage / excellent resource
               Specific questions regarding medical/benefit information, contact HR Helpdesk
               x5555
               Aetna & Delta Dental administers our benefits plan - Will send links to
                  .   Health Plan Summary and vision and dental
                  •   Premium rates
                  .   Wellness Program - it is a requirement that you complete the health history
                      and biometric screening (screening will be in the August/September
                      timeframe for 2018 - you will be notified.
                  .   MCM
               Flexible Spending Account
                  .   FSA, right now, has a grace / carryover period. If you have funds that you did
                      not use in 2018, you can carryover up to $500 of these funds to 2019. This
                      carryover does not impact the maximum amount of your 2019 election.
                  .   You don't have to be enrolled in the benefits plan to participate in the FSA.
               Open enrollment is every November if you miss deadline. If you want the same
               benefits, you do nothing as the same benefits you elected carry over into the next
               year. EXCEPT FSA. OE is managed in DF
               State Paid Sick Leave - earn 1 hour for every 30 hours worked. Has a 90 day
               waiting period. Will be available to use when transition to DSR 1.
               Reasonable Accommodation -if you have a medical condition that needs an
               accommodation call HR BP versus sharing medical condition with your supervisor
               (confidentiality) - please reach out to me. (Example: employee who is diabetic and
               needs their break and lunch at the same time each day.
               Questions?




WV-000433

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    EXHIBIT S()-09




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                     It is core to our Mission:
                     World Vision is an international partnership of Christians whose
                     mission is to fofiow our Lord and Saviour Jesus Christ in working with
                     the poor and oppressed to promote human transformation, seek
                     justice and bear witness to the good news of the Kingdom of God.




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                     For unto us a Child is born,
                        Unto us a Son is given,
            And the government will be upon His shoulder.
                     And His name will be called
                  Wonderful, Counselor; Mighty God,
                  Everlasting Father Prince of Peace.

                                Isaiah 9:6




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   walled desks that is moderately noisy with staff continuously on the phones. Use of standard office equipment. Must
   wear headset. Daily interaction with donors including some contact with those who may be frustrated .




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  From:                    Diane Mendez - US
  Sent:                    Tuesday, December 21, 2021 5:13 PM
  To:                      DCSDEPT
  Subject:                 Shout out to [DCS Rep name
                           redacted]




                          [Photograph of People Redacted]




    Susanna [donor surname redacted] wanted us to
   know how amazing [DCS Rep] is. She said [he]
   was compassionate, kind and so very caring. As
   she spoked about how [he] took the time to pray
   for her she got choked up and started to cry. We
   never will know how much we touch our donors
   when we stop for just a moment and lift them up
   before God. This is the part of our business that
   is pure ministry and freeing. Icon imagine our

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      God so pleased and heart filled with delight
      because you understand what is truly
      important. Thank you so much [DCS Rep]. You
      are amazing.

  Diane Mendez
  Mgr Contact Center | Donor Contact Service | Channel Development and Management

  Phone 253.815.5853 I Fax 253.815.3498 I dmendez@worLdvision.org
  Mail Stop 600 I PO Box 9716 I Federal Way, WA 98063-9716 USA
  World Vision I Building a better world for children I www.worldvision.org I
  World Vision is a Christian humanitarian organization dedicated to working with children, families, and their
  communities worldwide to reach their full potential by tackling the causes of poverty and injustice.




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  From:                            Diane Mendez - US
  Sent:                            Thursday, March 3, 2022 4:26 PM
  To:                              DCSDEPT
  Subject:                         Shout out for [DCS Rep name
                                   redacted]




     Listen to what Mrs. [donor name redacted] had to say: [DCS
   Rep] was amazing and did a fantastic job. Such a blessing
   today for me because I asked for prayer and [female DCS Rep]
   encourage me and lifted me to the Lord and I feel amazing.
   She is a beautiful human being and she praises GOD! She
   is in the right position. Thank you

  Diane Mendez
  Mgr Contact Center | Donor Contact Service | Channel Development and Management

  Phone 253.815.5853 I Fax 253.815.3498 | dmendez@worldvision.org
  Mail Stop 600 I PO Box 9716 I Federal Way, WA 98063-9716 USA
  World Vision I Building a better world for children I www.worldvision.org I

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